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                       Exhibit E
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                                                                               1


     UNITED STATES BANKRUPTCY COURT
     FOR THE DISTRICT OF DELAWARE
     ---------------------------------
                                                         Chapter 11
     In Re:                                              Case Number
                                                         08-13143(KJC)
           TRIBUNE COMPANY, et al.,                       Jointly
                                                         Administered
                                  Debtors.
     ---------------------------------
                                  October 13, 2010
                                  3:11 p.m.




     Videotaped deposition of MARY AGNES WILDEROTTER,
     taken by Aurelius Capital Management, pursuant
     to Notice and Subpoena, held at the offices of
     Frontier Communications, 3 High Ridge Park,
     Stamford, Connecticut, before Joseph R. Danyo,
     a Shorthand Reporter and Notary Public within
     and for the State of New York.




     HUDSON REPORTING & VIDEO                            1-800-310-1769

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                                                                               2
 1
 2   A P P E A R A N C E S :
 3
           FRIEDMAN KAPLAN SEILER & ADELMAN LLP
 4           Attorneys for Aurelius Capital
               Management
 5           1633 Broadway
             New York, New York 10019-6708
 6
           By:     WILLIAM P. WEINTRAUB, ESQ.
 7                 EAMONN O'HAGAN, ESQ.
 8
 9         BROWN RUDNICK LLP
             Attorneys for Wilmington Trust on behalf
10             of PHONES
             185 Asylum Street
11           Hartford, Connecticut 06103
12         By:     DYLAN P. KLETTER, ESQ.
13
14         CHADBOURNE & PARKE LLP
             Attorneys for the Committee of Unsecured
15             Creditors
             30 Rockefeller Plaza
16           New York, New York 10112
17         By:     ALEXANDRA K. NELLOS, ESQ.
18                                -and-
19         ZUCKERMAN SPAEDER LLP
             1800 M Street, N.W.
20           Suite 1000
             Washington, D.C. 20036-5807
21
           By:     ANDREW GOLDFARB, ESQ.
22                  (Via Teleconference)
23
24
25

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                                                                               3
 1
 2   A P P E A R A N C E S : (Continued)
 3
           SIDLEY AUSTIN LLP
 4           Attorneys for the Debtors
             1501 K Street, N.W.
 5           Washington, D.C. 20005
 6         By:     DAVID M. MILES, ESQ.
 7
 8         WILMER CUTLER PICKERING HALE and DORR LLP
             Attorneys for Angelo Gordon & Co.
 9           399 Park Avenue
             New York, New York 10022
10
           By:     LIPI M. PATEL, ESQ.
11
12
           JENNER & BLOCK LLP
13           Attorneys for EGI-TRB LLC and Samuel
               Zell
14           353 N. Clark Street
             Chicago, Illinois 60654-3456
15
           By:     DOUGLAS A. SONDGEROTH, ESQ.
16
17
           DAVIS POLK & WARDWELL LLP
18           Attorneys for JP Morgan
             450 Lexington Avenue
19           New York, New York 10017
20         By:     SASHA E. POLONSKY, ESQ.
21
22         WHITE & CASE LLP
             Attorneys for the Bridge Agent
23             Wells Fargo
             1155 Avenue of the Americas
24           New York, New York 10036-2787
25         By:     BRIAN FRITZ, ESQ.
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                                                                                4
 1
 2   A P P E A R A N C E S : (Continued)
 3
           McCARTER & ENGLISH LLP
 4           Attorneys for Deutsche Bank
             405 N. King Street
 5           Eighth Floor
             Wilmington, Delaware 19801
 6
           By:     KATE BUCK, ESQ.
 7                  (Via Teleconference)
 8
 9         KAYE SCHOLER LLP
             Attorneys for Merrill Lynch LLP
10           425 Park Avenue
             New York, New York 10022-3598
11
           By:     JOSEPH OTCHIN, ESQ.
12                  (Via Teleconference)
13
14         JONES DAY LLP
             Attorneys for the Witness
15           222 East 41st Street
             New York, New York 10017-6702
16
           By:     FREDRICK E. SHERMAN, ESQ.
17                 BRAD B. ERENS, ESQ.
18
19   Also Present:
20         HENRY MARTE,
             Videographer
21
22                                     oOo
23
24
25

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                                                                               5
 1

 2                  THE VIDEOGRAPHER:             This marks the
 3             beginning of videotape number one in the
 4             videotaped deposition of Ms. Maggie
 5             Wilderotter in the matter of In Re Tribune
 6             Company, et al., filed in the United
 7             States Bankruptcy Court for the District
 8             of Delaware.       This deposition is being
 9             held at Frontier Communications, 3 High
10             Ridge Park, Stamford, Connecticut, on
11             Wednesday, October 13, 2010 at
12             approximately 3:11 p.m.
13                  The court reporter is Joe Danyo.                    The
14             video operator is Henry Marte.                  We are
15             both here on behalf of Hudson Reporting &
16             Video.
17                  Will counsel please identify
18             themselves for the record.
19                  MR. WEINTRAUB:            Yes, I am William
20             Weintraub of Friedman Kaplan Seiler &
21             Adelman representing Aurelius Capital
22             Management.
23                  MR. SHERMAN:          Fredrick Sherman, Jones
24             Day in New York City, representing the
25             witness.

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                                                                               6
 1                            Wilderotter
 2                  MR. MILES:         David Miles, Sidley
 3             Austin, representing the debtors.
 4                  MS. NELLOS:          Alexandra Nellos,
 5             Chadbourne & Parke, representing the
 6             unsecured creditors committee.
 7                  MR. KLETTER:          Dylan Kletter, Brown
 8             Rudnick, representing the Wilmington Trust
 9             on behalf of the PHONES.
10                  MS. PATEL:         Lipi Patel, Wilmer Hale,
11             representing Angelo Gordon.
12                  MR. SONDGEROTH:            Doug Sondgeroth,
13             Jenner & Block, representing EGI-TRB and
14             Samuel Zell.
15                  MS. POLONSKY:           Sasha Polonsky, Davis
16             Polk & Wardwell, representing JP Morgan.
17                  MR. O'HAGAN:          Eamonn O'Hagan of
18             Friedman Kaplan Seiler & Adelman, also
19             representing Aurelius Capital.
20                  THE VIDEOGRAPHER:             Will the court
21             reporter please administer the oath.
22   M A R Y       A G N E S           W I L D E R O T T E R,
23   having been first duly sworn by Joseph R. Danyo,
24   a Notary Public for the State of New York, was
25   examined and testified as follows:

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                                                                                 7
 1                            Wilderotter
 2   EXAMINATION BY MR. WEINTRAUB:
 3             Q.   Good afternoon, Ms. Wilderotter.                      My
 4   name is William Weintraub.               I am an attorney with
 5   Friedman Kaplan Seiler & Adelman representing
 6   Aurelius Capital Management in this matter.                         Have
 7   you had your deposition taken before?
 8             A.   In this matter?
 9             Q.   In any matter.
10             A.   Yes.
11             Q.   So you understand that you are
12   required to give truthful answers to my questions
13   today?
14             A.   Yes.
15             Q.   And it would help the court reporter
16   and all of us if you wait until I finish asking
17   my question until you begin to answer it.                          Do you
18   understand that?
19             A.   Yes.
20             Q.   Thank you.         And, if there is a
21   question that you don't understand, if you tell
22   me you don't understand it, I will try to
23   rephrase it as best I can.               Is that all right?
24             A.   Yes.
25             Q.   Thank you.         Are you a member of the

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                                                                               8
 1                            Wilderotter
 2   special committee of the board of directors of
 3   Tribune Company?
 4             A.   Yes.
 5             Q.   Has the special committee asked to
 6   meet with Aurelius Capital Management?
 7             A.   Not that I know of.
 8             Q.   Is the special committee willing to
 9   meet with Aurelius Capital Management?
10             A.   Yes.
11             Q.   Do you think that Aurelius Capital
12   Management should be permitted to participate in
13   the ongoing negotiations concerning the plan of
14   reorganization for the debtors?
15             A.   Sure.
16             Q.   Has anyone told you that Aurelius
17   Capital Management should not be part of the
18   negotiations?
19             A.   No.
20             Q.   Has anyone told you that Aurelius
21   Capital Management is close-minded about the
22   negotiations?
23             A.   No.
24             Q.   Has anyone told you that Aurelius
25   Capital Management is requiring to be paid in

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                                                                               9
 1                             Wilderotter
 2   full, par plus accrued interest, in connection
 3   with its distributions in the Tribune case?
 4             A.    Not that I know of.
 5             Q.    In your role as a member of the
 6   special committee, to whom do you owe fiduciary
 7   duties?
 8             A.    I owe fiduciary duties to the
 9   stakeholders, the creditors that own the debt of
10   this company.
11             Q.    Anyone else?
12             A.    I have a fiduciary responsibility
13   first and foremost to help get the company
14   reorganized and out of bankruptcy on behalf of
15   the creditors.
16             Q.    Does one of those goals take
17   precedence over the other, reorganization versus
18   getting out of bankruptcy as quickly as possible?
19             A.    I think they are all-inclusive.
20             Q.    What do you mean by all-inclusive?
21             A.    That reorganization is about getting
22   the company out of bankruptcy.
23             Q.    To whom does Tribune as debtor in
24   possession owe fiduciary duties?
25             A.    Who are you talking about?

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                                                                               10
 1                             Wilderotter
 2             Q.    Tribune, the debtor.                The debtor in
 3   possession.
 4             A.    The company?
 5             Q.    Yes.
 6             A.    I'm not here to speak for the
 7   company.
 8             Q.    Are you a member of the board of
 9   directors of the company?
10             A.    Yes.
11             Q.    Do you have an understanding as to
12   whom the company as debtor in possession has
13   fiduciary duties to?
14             A.    They have fiduciary duties similar to
15   what I talked about.              They have a duty to the
16   creditors to reorganize the company and to
17   maximize what the creditors will get from that
18   reorganization to try to meet the needs of the
19   creditors as part of this process.
20             Q.    Do you see any difference between the
21   fiduciary duties of the special committee and the
22   fiduciary duties of Tribune?
23             A.    No.
24             Q.    Why was the special committee formed?
25             A.    The special committee was formed

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                                                                              11
 1                             Wilderotter
 2   because there are a number of members of the
 3   board of directors that have or could have
 4   conflicts of interest.
 5             Q.    Is that the only reason?
 6             A.    Yes.      The four members of the special
 7   committee are the independent members who were
 8   not part of the transaction when it took place.
 9             Q.    Was there any other reason for
10   forming the special committee, to your knowledge?
11             A.    No, not that I know of.
12             Q.    When was Don Liebentritt made chief
13   restructuring officer?
14             A.    I don't know the exact date, but the
15   title of chief restructuring officer I think was
16   put with Don Liebentritt in August.
17             Q.    Do you know why he was made chief
18   restructuring officer?
19             A.    Well, he was acting as the general
20   counsel of Tribune, and he was basically spending
21   full time on the restructuring, and we felt that
22   he should continue from a continuity perspective
23   to work restructuring on behalf of Tribune.
24             Q.    Was there any change in his duties
25   from being counsel to the corporation to being a

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                                                                               12
 1                             Wilderotter
 2   chief restructuring officer?
 3             A.    I think that his duties as chief
 4   restructuring officer are the same duties he had
 5   before with regard to the company and the
 6   bankruptcy.
 7             Q.    So what was the purpose of changing
 8   his title?
 9             A.    Well, the general counsel role does a
10   lot more in a company than just looking at a
11   restructuring.         They handle the legal activities
12   on a day-to-day basis for the operations of the
13   company, and Don is no longer doing that.
14             Q.    So Mr. Liebentritt is doing less than
15   he was doing before?
16             A.    His role has been restricted to the
17   restructuring.
18             Q.    Whose decision was it to make Mr.
19   Liebentritt chief restructuring officer?
20             A.    I don't believe that I know who took
21   a leadership role on that, but it was a
22   management decision.              Management makes decisions
23   on the people that are involved in the company.
24   It did come to the special committee and asked us
25   if we felt that was a good idea, and we felt for

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                                                                               13
 1                             Wilderotter
 2   continuity, yes, it would be a good idea.
 3             Q.    Who at management made that decision?
 4             A.    I am sure it was Randy Michaels as
 5   the CEO in conjunction with probably Don
 6   Liebentritt and Sam Zell also participated, I am
 7   sure, in discussions on it as the chairman of the
 8   board.
 9             Q.    You agree with the decision to make
10   Mr. Liebentritt chief restructuring officer?
11             A.    Yes.
12             Q.    Has there been any friction between
13   Mr. Liebentritt and Mr. Shapiro?
14             A.    Not that I know of.
15             Q.    Did Mr. Shapiro ever express any
16   frustration with Mr. Liebentritt, to your
17   knowledge?
18             A.    Frustration, no.
19                   MR. WEINTRAUB:            I am going to mark
20             some documents.           I would like to mark this
21             as Exhibit 1.           For those on the phone,
22             this is document MW 10.               That is the first
23             Bates number.
24                   (Wilderotter Exhibit 1, Document
25             beginning with Bates number MW 10

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                                                                              14
 1                             Wilderotter
 2             containing e-mail dated September 20, 2010
 3             from Mark Shapiro to Don Liebentritt, was
 4             so marked for identification, as of this
 5             date.)
 6             Q.    This is an e-mail dated September 20,
 7   2010 from Mark Shapiro to you.                 Do you recall
 8   receiving this?
 9             A.    It was sent to Don Liebentritt.
10             Q.    I'm sorry.         With a copy to you.
11             A.    Correct.
12             Q.    Do you recall receiving this?
13             A.    I don't recall, but I probably did
14   since it was sent to me.
15             Q.    Do you normally read e-mails that are
16   sent to you?
17             A.    I do.
18             Q.    Do you remember reading this one?
19             A.    Now that you put it in front of me, I
20   do remember it.
21             Q.    In essence, what was going on here,
22   if you recall?
23             A.    Well, if I read it, it sounds like
24   that Mark wanted Don to do a more formal
25   statement that wasn't sent out.

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                                                                                15
 1                             Wilderotter
 2             Q.    He says in the first sentence, "Don,
 3   need to tell you that I am still disturbed that
 4   we never sent out a formal statement."
 5                   Did, independent of this e-mail, Mr.
 6   Shapiro ever express his annoyance or being
 7   disturbed to you?
 8             A.    About what?
 9             Q.    About the fact that they never sent
10   out the formal statement that he is speaking to
11   Mr. Liebentritt about.
12             A.    Not that I recall.
13             Q.    Did you respond to this e-mail?
14             A.    Not that I recall.
15                   MR. WEINTRAUB:           I am going to mark
16             this as Exhibit 2.
17                   (Wilderotter Exhibit 2, Document
18             beginning with Bates number MS 37
19             containing e-mail dated September 20, 2010
20             from Ms. Wilderotter to Mark Shapiro, was
21             so marked for identification, as of this
22             date.)
23                   MR. WEINTRAUB:           This is MS 37.             That
24             is the first Bates stamp number.                   It is
25             another e-mail.

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                                                                              16
 1                             Wilderotter
 2             A.    Um-hum.
 3             Q.    I don't think this was in the
 4   production that you gave to us.                    We can
 5   double-check on that, but do you recall sending
 6   this e-mail to Mr. Shapiro on September 20, 2010?
 7             A.    Yes, as I read it.
 8             Q.    It says, "Wow, are you okay, or do we
 9   need a committee caucus?"
10             A.    Right.
11             Q.    "Frankly, Don is used to doing what
12   he wants with no accountability.                    I am sure your
13   e-mail is a shock to him, but rightly so.                       Let us
14   know if you want to do a quick call.                     Best,
15   Maggie."
16                   Again, does this refresh your
17   recollection as to what was going on at that
18   time?
19             A.    Well, again I think it states that
20   Mark came on strong with Don.                 Don has not been
21   used to providing accountability to a special
22   committee, so this was new for him, and I just
23   wanted to make sure that if Mark was frustrated
24   we could talk about it, if that is what he wanted
25   to do.

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                                                                              17
 1                             Wilderotter
 2             Q.    Why did you punctuate this by
 3   beginning with "wow"?
 4             A.    Because it was an e-mail that was
 5   pretty direct.
 6             Q.    When you say in your e-mail, "I am
 7   sure your e-mail is a shock to him, but rightly
 8   so," what did you mean by rightly so?
 9             A.    Well, I think that Mark brought up an
10   accountability for Don to make sure that he
11   follows through on the things that Mark had asked
12   him to do, and he hadn't done that.
13             Q.    What was going on at this time that
14   Don was not doing?
15             A.    Well, it says here he didn't send out
16   a formal statement from the company following
17   Oaktree's filing on Friday.
18             Q.    And do you know why Don didn't do
19   that?
20             A.    I have no idea.
21             Q.    Did you ever inquire?
22             A.    No, because it says here that he gave
23   a reason that Randy's letter to the employees and
24   to anyone in the press that inquired about it was
25   his response.

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                                                                              18
 1                             Wilderotter
 2             Q.    Was that response satisfactory to
 3   you?
 4             A.    It wasn't satisfactory to me, but
 5   Mark was the one having the dialogue with him.
 6             Q.    As a member of the special committee,
 7   did you think any action needed to be taken?
 8             A.    Yes, I said, if Mark wanted to have a
 9   quick call about it, I would be happy to
10   participate in that.
11             Q.    Did you have that call?
12             A.    No.     Mark said he didn't feel he
13   needed to have that call.
14             Q.    So Mark was interacting directly with
15   Mr. Liebentritt?
16             A.    Correct.
17             Q.    Were you interacting at all with Mr.
18   Liebentritt on this?
19             A.    Not that I recall.
20             Q.    Were there any other issues with Mr.
21   Liebentritt during this period that you recall?
22                   MR. SHERMAN:          Which period is that?
23                   MR. WEINTRAUB:           The period of this
24             e-mail, which was in September 2010.
25             A.    Well, there has been a lot of

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                                                                              19
 1                             Wilderotter
 2   interactions with Don Liebentritt during this
 3   period of time.
 4             Q.    Were any of them not satisfactory to
 5   you?
 6             A.    You would have to give me a specific
 7   instance for me to respond to that.
 8             Q.    Do any stand out in your mind?
 9             A.    Do any stand out in my mind?                  No.
10                   MR. WEINTRAUB:           I am going to mark
11             this as 3, and for those on the phone,
12             this is MS 115.
13                   (Wilderotter Exhibit 3, Document
14             beginning with Bates number MS 115, was so
15             marked for identification, as of this
16             date.)
17             A.    Okay.
18             Q.    I am going to start at the bottom of
19   the first page, which is MS 115.                   Do you recall
20   receiving Mr. Shapiro's e-mail of September 9 at
21   the time that it was sent?
22             A.    Now that you have put it in front of
23   me, yes.
24             Q.    He is saying here towards the end of
25   that very short paragraph, "I would add that Don

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                                                                              20
 1                             Wilderotter
 2   has made some wrong turns and because of it has
 3   lost the confidence and trust of several of the
 4   constituencies.         Further, the process has lacked
 5   leadership from the debtors' side."
 6                   Do you know what wrong turns Mr.
 7   Shapiro is referring to?
 8             A.    No.
 9             Q.    Did you ask him?
10             A.    No.     I asked him if he had any
11   thoughts on course corrections.
12             Q.    No, but my question was did you ask
13   him what the wrong turns were?
14             A.    No.
15             Q.    Were you aware of what the wrong
16   turns were?
17             A.    No.
18             Q.    Do you think as a member of the
19   special committee it would have been within your
20   responsibilities to find out what the wrong turns
21   were?
22             A.    Well, this was an assessment between
23   Mark in a meeting with Don, and it is his
24   observations, so I felt that what I wanted to
25   know from Mark is if he had thoughts on any

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                                                                              21
 1                             Wilderotter
 2   course corrections.
 3             Q.    Did he?
 4             A.    He said he was arranging a meeting
 5   with principals from Angelo, Oaktree and
 6   JP Morgan with our legal counsel to see if they
 7   could bridge issues.
 8             Q.    Were you at that meeting?
 9             A.    No.
10             Q.    Were you asked to be at that meeting?
11             A.    No.
12             Q.    Why not?
13                   MR. SHERMAN:          Objection to the form.
14             Q.    Why were you not asked to be at that
15   meeting, if you know?
16             A.    I don't think anybody felt it was
17   necessary with the chairman of the special
18   committee going to the meeting why I would have
19   to go too.
20             Q.    Did you think you needed to be at
21   that meeting?
22             A.    No.
23             Q.    Do you know which constituencies Mr.
24   Shapiro was referring to when he said that Don
25   has lost the confidence and trust of several of

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                                                                              22
 1                             Wilderotter
 2   the constituencies?
 3             A.    No.
 4             Q.    Did you ask him?
 5             A.    No.
 6             Q.    Do you think that would have been
 7   important information for you to know as a member
 8   of the special committee?
 9             A.    Not at that point in time.
10             Q.    At what point in time would it have
11   been important to you?
12             A.    After he had a meeting with the
13   principals.
14             Q.    Which principals?
15             A.    Angelo, Oaktree, JP Morgan, that
16   meeting, to find out if they could bridge the
17   issues.
18             Q.    Do you know that those are the
19   principals he was referring to in his e-mail?
20             A.    Well, he said he was arranging a
21   meeting with those principals as a follow-up in
22   this e-mail.
23             Q.    Do you know why Angelo Gordon,
24   Oaktree or JP Morgan would have lost confidence
25   in Mr. Liebentritt?

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                                                                              23
 1                             Wilderotter
 2                   MR. SHERMAN:          Objection to the form.
 3             Q.    You can answer the question.
 4             A.    Could you ask it again, please.
 5             Q.    Do you know why Angelo Gordon,
 6   Oaktree and JP Morgan might have lost confidence
 7   in Mr. Liebentritt?
 8                   MR. SHERMAN:          Objection to the form.
 9                   THE WITNESS:          What does that mean?
10                   MR. SHERMAN:          You can answer if you
11             understand it.          It is a technical
12             objection.       Counsel can either restate it
13             if he wants to.          You can answer it if you
14             understand it.          That is it.
15             A.    I don't know specifically from this
16   e-mail exchange why they would have any
17   objections at this point.
18             Q.    I wasn't asking about objections, I
19   was asking if you knew why they might have lost
20   confidence and trust.
21             A.    The only thing I could do is give you
22   my thoughts on it.           I don't know why
23   specifically, because I never talked to any of
24   the members of these principals, so that would
25   only be my speculation if I were to answer that.

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                                                                              24
 1                             Wilderotter
 2             Q.    Did Mr. Shapiro tell you why Oaktree,
 3   JP Morgan and Angelo Gordon might have lost trust
 4   and confidence in Mr. Liebentritt?
 5                   MR. SHERMAN:          Objection to the form.
 6             A.    I don't recall a specific
 7   conversation with Mark Shapiro about each of
 8   these specific individuals and why they had lost
 9   confidence in terms of what they would have told
10   him specifically.
11             Q.    Did you have a general conversation
12   with Mr. Shapiro about that?
13             A.    I have not had a general conversation
14   with Mr. Shapiro.          We have had conversations at
15   the special committee level.
16             Q.    What did the special committee
17   discuss about the possible loss of confidence and
18   trust of Angelo Gordon, Oaktree and JP Morgan in
19   Mr. Liebentritt?
20             A.    Well, that Don Liebentritt has worked
21   for Sam Zell for many years and that relationship
22   could have an impact on the negotiations and the
23   discussions.
24             Q.    Was that relationship taken into
25   account when Mr. Liebentritt was made chief

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                                                                              25
 1                             Wilderotter
 2   restructuring officer?
 3             A.    Yes.
 4             Q.    And he was made chief restructuring
 5   officer despite that relationship?
 6             A.    He was made chief restructuring
 7   officer with an understanding that he has had a
 8   long-term relationship with Sam.
 9             Q.    So that was considered to be a
10   benefit?
11             A.    It was never discussed.
12             Q.    It was never discussed with who?
13             A.    But we knew he had a relationship
14   with Sam Zell for years.
15             Q.    So that was not a consideration in
16   the special committee's supporting the
17   appointment of Mr. Liebentritt as chief
18   restructuring officer?
19                   MR. SHERMAN:          Objection to the form.
20             Q.    You can answer the question.
21             A.    So ask it again, please.
22                   MR. WEINTRAUB:           Could you read it
23             back.
24                   (Record read)
25             A.    It was not.

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                                                                               26
 1                             Wilderotter
 2             Q.    Was it discussed among the special
 3   committee as to whether or not it would be a good
 4   idea to appoint someone who has a relationship
 5   with Mr. Zell as chief restructuring officer?
 6             A.    No.
 7             Q.    Why not?          Do you know?
 8             A.    It just wasn't discussed.
 9             Q.    Was it not considered to be an
10   important issue?
11             A.    No.
12             Q.    Do you know if Mr. Liebentritt
13   profited in any way from the LBO transactions
14   through his relationship with EGI?
15             A.    Do I know if he profited in any way?
16             Q.    Yes.
17             A.    From this transaction?
18             Q.    From the LBO -- you know, when I
19   refer to the LBO transaction, you know what I am
20   referring to?         The step 1 and step 2
21   transactions?
22             A.    Right.
23             Q.    Do you know if Mr. Liebentritt
24   profited?
25             A.    I have no idea.

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                                                                              27
 1                             Wilderotter
 2             Q.    Did you ask him?
 3             A.    No.
 4             Q.    Did anyone from the special committee
 5   ask him?
 6             A.    I don't know.           You would have to ask
 7   the other members.
 8             Q.    But, to your knowledge, it was never
 9   asked by the special committee?
10             A.    Correct.
11                   MR. WEINTRAUB:           I am going to mark as
12             the next exhibit the term sheet.
13                   (Wilderotter Exhibit 4, Term sheet,
14             was so marked for identification, as of
15             this date.)
16                   MR. WEINTRAUB:           For those on the
17             phone, this is the term sheet that was
18             attached to the second mediator's report.
19                   (Brad Erens enters the room)
20             Q.    Have you seen this document before?
21             A.    Yes.
22             Q.    When was the first time you saw it?
23             A.    I don't recall.            I would have to go
24   back and look at my files to see.
25             Q.    Do you recall if you saw drafts of

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 1                             Wilderotter
 2   this before the version that was attached to the
 3   mediator's report was filed with the court?
 4             A.    I don't recall.
 5             Q.    To the best of your recollection,
 6   did you see this term sheet for the first time
 7   at or around the time that it was filed with the
 8   court?
 9                   MR. SHERMAN:          Do you want to give her
10             a date?
11                   MR. WEINTRAUB:           Yes.
12             Q.    It was filed on October 12th.
13                   MR. SHERMAN:          Which was yesterday.
14                   MR. WEINTRAUB:           Yes.
15             A.    So did I see it?            Yes, I did see it
16   at or around that date.
17             Q.    Do you recall if you saw it before
18   yesterday?
19             A.    Yes.
20             Q.    Do you recall when that was?
21             A.    We had a special committee meeting
22   this week, which was I think on Tuesday.
23             Q.    Today is Wednesday.
24             A.    Monday.       I'm sorry.
25             Q.    So that would have been the 11th?

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                                                                              29
 1                             Wilderotter
 2   12th?
 3             A.    Yes.
 4             Q.    It was a holiday.
 5             A.    Yes.      Some of us had to work.
 6             Q.    You weren't the only one.
 7                   What is your understanding of what
 8   LBO claims are being settled under this term
 9   sheet or pursuant to this term sheet?
10             A.    You want me to read this to you or
11   what?
12             Q.    I would just like your understanding
13   of what is being settled.
14             A.    That there are partial settlements of
15   step 1 and step 2 causes of action that were
16   taken into consideration in the settlement with
17   certain principals.
18             Q.    Do you have an understanding of what
19   was being settled separate and apart from reading
20   the term sheet?
21             A.    Yes, I do have an understanding.
22             Q.    Can you give me what that
23   understanding is?
24             A.    Yes, the understanding is that for
25   both step 1 and step 2 what we were trying to do

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                                                                              30
 1                             Wilderotter
 2   in a settlement with specific debtors, with the
 3   debtor, with the creditors, is to make sure that
 4   we could give recovery to the appropriate
 5   creditors in a fair and equitable way for the
 6   restructuring of the company, and it was about a
 7   settlement where the lenders would provide
 8   specific money and give up some of their recovery
 9   to some of the unsecured creditors and other
10   creditors to make sure that there was an
11   equitable settlement for a number of people that
12   had participated in the debt for the company.
13             Q.    The term sheet releases all step 2
14   claims except for certain claims which would
15   include the bridge loan disallowance claims,
16   disgorgement claims against what are identified
17   in the term sheet as non-settling parties and
18   shareholders redeemed in step 2.                   Is that a fair
19   statement?
20             A.    Can you repeat that again.
21             Q.    Probably not, but I am sure he can
22   read it back.
23                   (Record read)
24             A.    I don't know what shareholders
25   redeemed in step 2 means.

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 1                             Wilderotter
 2             Q.    Those shareholders who in connection
 3   with the second step of the two-step transaction
 4   tendered their stock and were paid.                    Those
 5   shareholders are not being released under --
 6             A.    I don't know if this term sheet takes
 7   care of all of those folks and the bridge loan
 8   and the disgorgement claims and that is all it
 9   does.
10             Q.    Does it include those claims?
11             A.    No, it does not include the bridge
12   loan or it doesn't -- and it doesn't preclude
13   anyone from moving forward with any legal
14   activity that they would need to do.
15             Q.    So the term sheet does not release --
16   I'm sorry -- so the term sheet does or does not
17   release the bridge loan disallowance claims in
18   your mind, in your view?
19             A.    It does not.
20             Q.    Okay.      You are sure about that?
21             A.    Well, I can go back through my notes
22   and take a look at it.             If you want to hand me
23   notes I am happy to look at it.
24             Q.    Do you have an independent
25   understanding?

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                                                                              32
 1                             Wilderotter
 2             A.    I have an independent understanding,
 3   but those are complicated settlements, and I
 4   would be happy to go back and look at my notes
 5   and give you an answer other than the answer I
 6   gave you.
 7             Q.    You are a member of the special
 8   committee which has been charged with exercising
 9   fiduciary duties for the benefit of the
10   stakeholders in this case.
11             A.    I am.
12             Q.    You do not have an independent
13   understanding of the settlement you approved?
14             A.    I have an independent understanding
15   of it, but I also take notes as I go through and
16   review a settlement this complicated, and there
17   are a lot of parties that are associated with a
18   settlement like this, so calling out every single
19   party just from my own memory and recollection is
20   hard for me to do.
21             Q.    Do you think the bridge loan is an
22   insignificant part in this Chapter 11 case?
23             A.    I am not going to comment on
24   individual creditors.             I think from our
25   perspective as a special committee, we took a

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                                                                              33
 1                             Wilderotter
 2   look at trying to maximize the right kind of
 3   settlement that would be in the best interests of
 4   all of the parties.
 5             Q.    So do you recall if the bridge loan,
 6   the bridge loan debt was being released or not
 7   being released under the settlement?
 8             A.    My recollection -- I don't recall.                  I
 9   would have to look at my notes.
10             Q.    According to the term sheet, in
11   exchange for the releases, the senior noteholders
12   get an additional $120 million and a greater
13   percentage of the recoveries from the litigation
14   trust.     Is that correct?
15             A.    My understanding is the $120 million
16   is an incremental dollar amount that was given to
17   help with the settlements by the lenders.
18             Q.    What was being released in exchange
19   for that $120 million?
20             A.    Again, I would be happy -- let me go
21   back and look through all of the documentation.
22   If I could look at my documentation, I could tell
23   you specifically.
24             Q.    What would you need to look at to
25   refresh your recollection?

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 1                             Wilderotter
 2             A.    My notes and my sheets from the
 3   special committee meeting where we went through
 4   all of this in great detail --
 5             Q.    Is this --
 6             A.    -- on Monday --
 7             Q.    I didn't mean to interrupt.
 8             A.    -- on Monday that I looked at.
 9             Q.    Is that anything different or in
10   addition to what you produced to us in connection
11   with our request for documents?
12             A.    No.     So you have it.
13             Q.    Do you know how the $120 million
14   figure was arrived at?
15             A.    I was not in the room for those
16   negotiations and discussions, but I know it was
17   through negotiations and discussions on how it
18   was arrived.
19             Q.    Who conducted those negotiations and
20   discussions?
21             A.    Well, there were members of I know
22   Oaktree and Angelo Gordon, JP Morgan, the
23   unsecured creditors committee, Don Liebentritt
24   was there, David Heiman, who represents the
25   special committee, participated in that.                      The

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                                                                              35
 1                             Wilderotter
 2   lawyers from Sidley participated.                   My
 3   understanding is the Lazard folks participated.
 4   So there were a number of people, and we have
 5   advisors that represent us that participated in
 6   the settlement discussions.
 7             Q.    Did you participate at all in those
 8   discussions?
 9             A.    No.
10             Q.    How were you kept abreast of those
11   discussions?
12             A.    Through special committee phone
13   calls, through updates that were sent in e-mail.
14   That is how we were kept abreast.
15             Q.    How many special committee phone
16   calls were there about how the $120 million
17   figure was arrived at?
18             A.    There were no specific calls.                   There
19   were calls about the entire settlement and
20   progress on the settlement.
21             Q.    Did you ask anyone how the
22   $120 million figure was arrived at?
23             A.    All of those terms were explained as
24   we went through the specific terms and conditions
25   of the settlement.

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 1                             Wilderotter
 2             Q.    And how was the $120 million figure
 3   explained to you?
 4             A.    Well, if you would like to give me my
 5   notes, I would be happy to let you know what that
 6   is.
 7             Q.    I am just trying to --
 8             A.    I am just telling you that on the
 9   record telling the truth, I would have to refresh
10   my memory to go through all of the terms and
11   conditions that we discussed in making my
12   decision.
13             Q.    Do you have an independent
14   recollection apart from your handwritten notes as
15   to how the $120 million figure was arrived at?
16             A.    I don't have a recognition without
17   being able to look at my information.
18             Q.    Was yesterday the first time you had
19   heard the 120 -- I'm sorry -- the Monday meeting
20   the first time you had ever heard the
21   $120 million figure?
22             A.    If it was not Monday, it was, you
23   know, right around Monday, but, yes, I know there
24   was negotiations that took place over the
25   weekend.

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 1                             Wilderotter
 2             Q.    Were different figures used prior to
 3   Monday for the payment being made from the
 4   lenders?
 5             A.    Yes.
 6             Q.    What figures were those?
 7             A.    I don't recall off the top of my
 8   head, but they were less than that number.
 9             Q.    Was there a discussion about a figure
10   that was more than that number?
11             A.    Not that I know of or recall.
12             Q.    And you feel $120 million is an
13   appropriate number?
14             A.    Yes, I do.
15             Q.    What is your basis for that
16   statement?
17             A.    For the -- the financial advisors and
18   the advisors that took us through the
19   information, and there was a third-party
20   assessment of the settlement that was also
21   reviewed that felt that this was a very fair
22   settlement.
23             Q.    Apart from what the financial
24   advisors, the other advisors and the third-party
25   assessment, do you have an independent view as

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 1                             Wilderotter
 2   to whether or not the $120 million is a fair
 3   figure?
 4             A.    My independent view is based upon
 5   advisors advising me on what is right, what is
 6   fair and what is equitable.
 7             Q.    Did you ask anyone if $120 million
 8   was an appropriate figure?
 9             A.    Yes.
10             Q.    Who did you ask?
11             A.    Part of the discussion of the special
12   committee with the advisors was was this a good
13   settlement agreement?             Is this fair and
14   equitable?      And part of my assessment and
15   decision was also based upon the fact that when
16   the examiner's report looked at what would be
17   fair from a settlement perspective, this was -- I
18   think there were five or six different
19   scenarios -- that this overall settlement was
20   better than five of the six scenarios that were
21   actually put on the table.
22             Q.    Have you read the examiner's report?
23             A.    I did.
24             Q.    All of it?
25             A.    I read through most of it.

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 1                             Wilderotter
 2             Q.    Did you read the recovery scenarios?
 3             A.    I did.
 4             Q.    Did you have access to the examiner's
 5   model?
 6             A.    No.
 7             Q.    Did you ask for access to the
 8   examiner's model?
 9             A.    No.
10             Q.    Why not?
11             A.    Because it is not up to me to make an
12   assessment on his models.
13             Q.    Who was it up to?
14             A.    It is up to our advisors who were
15   looking at all of the analysis to derive what
16   would be appropriate for a settlement.
17             Q.    Who were your advisors?
18             A.    As I mentioned, the advisors for the
19   company and the special committee include Jones
20   Day and Sidley and Lazard primarily as the
21   advisors.
22             Q.    Sidley is the advisor to the company?
23             A.    Correct.
24             Q.    And Lazard is the advisor to the
25   company?

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                                                                              40
 1                             Wilderotter
 2             A.    Correct.
 3             Q.    Did you get any independent advice
 4   for the special committee, not from Sidley or
 5   from Lazard?
 6             A.    Yes, from Jones Day.
 7             Q.    And how long has Jones Day been
 8   involved in the case?
 9             A.    Since August.
10             Q.    What date?
11             A.    I don't know the date off the top of
12   my head.
13             Q.    Who selected Jones Day?
14             A.    The special committee selected Jones
15   Day.
16             Q.    When were they selected?
17             A.    In August.
18             Q.    Was that before or after the special
19   committee was appointed by the board?
20             A.    It was in conjunction with the
21   special committee being appointed.
22             Q.    Was there a meeting to determine
23   whether or not to retain Jones Day?
24             A.    Yes.
25             Q.    Who was at that meeting?

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 1                             Wilderotter
 2             A.    The members of the special committee.
 3             Q.    Who recommended Jones Day?
 4             A.    I recommended Jones Day.
 5             Q.    What was your basis for recommending
 6   them?
 7             A.    Twofold.          I have worked with Jones
 8   Day in the past.          I know they have a strong
 9   bankruptcy practice from an understanding
10   perspective, and they were not involved in the
11   case.     There were many attorneys from many law
12   firms that are involved in the case.
13             Q.    Do you know if Jones Day represents
14   any of the LBO lenders who might be targets of
15   the LBO litigation?
16             A.    I don't know if they represent any of
17   them on other matters.              I know that they are not
18   involved in this specific matter.
19             Q.    Were you looking specifically for
20   conflict-free counsel, or was that not a
21   consideration?
22             A.    I was looking specifically for, yes,
23   conflict-free counsel, yes.
24             Q.    Did you investigate whether or not
25   Jones Day currently represents any of the lenders

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                                                                              42
 1                             Wilderotter
 2   who are potential targets of the LBO litigation?
 3             A.    Yes, we had Jones Day clear conflicts
 4   to make sure that was the case.
 5             Q.    I didn't ask you if you had them
 6   clear conflicts.          Did you investigate whether or
 7   not they were --
 8             A.    That is how we investigated, whether
 9   they were involved or not.               And I also checked
10   with Don Liebentritt to make sure that from his
11   understanding since he was interacting with many
12   of the lawyers in the case if Jones Day would
13   have any conflict.
14             Q.    When you say you had them clear
15   conflicts, what do you mean by that?
16             A.    They took a look to make sure that
17   there would be no conflict of interest in them
18   representing the special committee based upon any
19   work that they were doing for folks that were
20   involved in the bankruptcy.
21             Q.    Did you ask them whether or not they
22   were currently representing any of the LBO
23   lenders in unrelated matters?
24             A.    Yes.
25             Q.    And they told you yes, they are?

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                                                                              43
 1                             Wilderotter
 2             A.    No, they told us that they had no
 3   conflicts with regard to the subject.
 4             Q.    That wasn't my question.
 5             A.    Well, then ask it again, and I will
 6   try to answer it.
 7             Q.    Did you ask Jones Day whether or not
 8   it was currently representing any of the LBO
 9   lenders in unrelated matters?
10             A.    No.
11             Q.    Why not?
12             A.    I asked them if they were
13   representing any of the LBO lenders in this
14   matter or had any interaction with regard to this
15   specific matter.
16             Q.    Was there any reason why you didn't
17   ask them if they were currently representing any
18   of the LBO lenders in unrelated matters?
19             A.    No.
20             Q.    Do you think it would have been
21   consistent with your fiduciary duties to seek to
22   find a law firm that was not currently
23   representing any of the LBO lenders in unrelated
24   matters?
25             A.    I think it was my responsibility to

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                                                                              44
 1                             Wilderotter
 2   make sure that Jones Day had no conflicts on this
 3   matter.
 4             Q.    And so far as you are concerned the
 5   fact that Jones Day may be representing LBO
 6   lenders in unrelated matters is not a conflict?
 7             A.    It is not a conflict for me.
 8             Q.    Was this discussed with the rest of
 9   the committee?
10             A.    Yes.
11             Q.    What did other committees have to say
12   about the issue?
13             A.    We collectively discussed whether
14   Jones Day would be good counsel for us as a
15   special committee, and part of that decision
16   process was the fact that they didn't represent
17   any of the LBO lenders in this matter.
18             Q.    Did the special committee value any
19   of the step 2 claims that are being released
20   pursuant to the term sheet?
21             A.    I don't understand the question.
22             Q.    Did the special committee do an
23   assessment of what the claims might be worth that
24   were being released under the term sheet?
25             A.    What kind of an assessment are you

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                                                                              45
 1                             Wilderotter
 2   talking about?
 3             Q.    Any assessment.
 4             A.    We looked at the information that was
 5   given to us by our advisors and went through all
 6   of that information in terms of what the total
 7   dollar amounts were and then what the settlement
 8   amounts were based upon each individual category
 9   of the lenders and also the creditors.
10             Q.    What did your advisors tell you about
11   the potential value of the LBO claims?
12             A.    The potential value of the claims?
13   It is over $500 million in terms of the total
14   settlement amount.
15             Q.    I'm not talking about how much was
16   being paid in settlement.               I am asking you was
17   there an evaluation done of what those claims
18   might be worth if the plaintiff in those lawsuits
19   was successful in litigation.
20             A.    No.
21             Q.    No valuation was done?
22             A.    No.
23             Q.    Did the special committee consider
24   the probability that if step 2 was found to be a
25   fraudulent conveyance and step 1 was not, that

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                                                                              46
 1                             Wilderotter
 2   the step 1 lenders might nonetheless be prevented
 3   from recovering on the avoided claims ahead of
 4   the non-LBO lenders?
 5             A.    I don't understand the question.
 6             Q.    I will try to rephrase it.                  Did the
 7   special committee consider the probability or
 8   possibility that if step 2 was found to be a
 9   fraudulent conveyance and step 1 was not, that
10   the step 1 lenders might be prevented from
11   recovering on those avoided claims ahead of the
12   non-LBO lenders?
13             A.    I don't understand the question, so I
14   can't answer it.
15             Q.    Do you recall the examiner's
16   discussion in the report about theories of
17   equitable estoppel?
18             A.    No.
19             Q.    Did you read the portion of the
20   examiner's report about what might happen and
21   what the issues would be if both step 1 and
22   step 2 loans were set aside as fraudulent
23   conveyances?
24             A.    Do I recall?          No.
25             Q.    Do you recall discussion in the

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                                                                              47
 1                             Wilderotter
 2   examiner's report about what the result might be
 3   if step 2 was set aside but step 1 was not?
 4             A.    No.
 5             Q.    Was that discussed in the special
 6   committee?
 7             A.    No, not that I recall.
 8             Q.    Was any incremental value assigned to
 9   the increase in the percentage from the
10   litigation trust that was being given to the
11   noteholders under this term sheet?
12             A.    Was any incremental value assigned to
13   it?    Well, there is incremental value associated
14   with it.
15             Q.    And what is that?
16             A.    It would be the value of what is in
17   the litigation trust.
18             Q.    And was that offset at all by the
19   decrease in the claims that are being assigned to
20   the trust?
21             A.    Was it offset at all by the decrease
22   in the claims?         I don't know.
23             Q.    Was that discussed?
24             A.    Not in that -- not in the form of the
25   question that you have asked me.                   I don't recall

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                                                                              48
 1                             Wilderotter
 2   that.
 3             Q.    Was there any discussion about why
 4   the senior noteholders were being given a step up
 5   in terms of the percentage interest in the
 6   liquidating trust, the litigation trust?
 7                   MR. MILES:         Could you read the
 8             question back.
 9                   (Record read)
10             A.    I don't understand the question.
11             Q.    You are aware that the term sheet
12   provides that the first $90 million coming out of
13   the litigation trust goes to the senior
14   noteholders and then thereafter they get
15   65 percent of the proceeds?
16             A.    Correct.
17             Q.    Okay.      How were those numbers arrived
18   at?
19             A.    Through negotiation.
20             Q.    With the senior noteholders?
21             A.    It was part of the settlement
22   agreement negotiations that were put in place.
23             Q.    Was it negotiated with the senior
24   noteholders?
25             A.    I don't know.           I wasn't in the room.

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 1                             Wilderotter
 2             Q.    So you don't know who it was
 3   negotiated with?
 4             A.    No.
 5             Q.    And that was not explained to you?
 6             A.    Not in particular I don't, no.                      I
 7   know that they all agreed to the settlement
 8   agreement, the parties.
 9             Q.    And they would be who?
10             A.    The creditors of Oaktree, Angelo
11   Gordon, JP Morgan and the unsecured creditors
12   committee.
13             Q.    Was there any discussion of how the
14   $90 million figure was arrived at?
15             A.    I would have to look at my notes to
16   be able to answer that question.
17             Q.    Was there any discussion as to how
18   the 65 percent figure was arrived at?
19             A.    I would have to look at my notes.
20             Q.    You don't have any independent
21   recollection?
22             A.    I don't have a recollection of it.
23             Q.    Do you recall if that was discussed
24   before the meeting on Monday, October 12?
25             A.    I don't recall it being discussed

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 1                             Wilderotter
 2   before then.
 3             Q.    Did the special committee consider
 4   the possibility that step 1 lenders who
 5   participated in step 2 might be barred from
 6   benefiting from step 2 avoidance?
 7             A.    I don't know what that means.
 8             Q.    There is an overlap of population
 9   between, in some instances, between lenders who
10   were in step 1 and lenders who were in step 2.
11             A.    Right.
12             Q.    Was there any discussion with the
13   special committee as to the possibility that
14   step 1 lenders who were also step 2 lenders would
15   be barred from benefiting from a step 2
16   avoidance?
17             A.    Not that I recall.
18             Q.    Nobody raised that question?
19             A.    I don't recall.            So maybe somebody
20   did, but I don't recall.
21             Q.    Do you recall any discussion about
22   that?
23             A.    I would have to look at my notes.
24             Q.    And, if it wasn't in your notes,
25   would that mean there was no discussion of it?

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 1                             Wilderotter
 2             A.    It would probably -- no, it wouldn't
 3   mean that.      It would just give me the opportunity
 4   to look to see if I would recall something
 5   different than what I am telling you.
 6             Q.    So right now, as we sit here, you
 7   have no independent recollection?
 8             A.    I don't have any recollection of it.
 9             Q.    Do you know why the step 1
10   shareholders are being released for no
11   consideration?
12             A.    I don't understand the question.
13             Q.    What part of the question is
14   confusing to you?
15             A.    You want to tell me which noteholders
16   you are talking about?
17             Q.    I'm sorry.         I thought I said
18   shareholders.
19                   (Record read)
20             A.    No.
21             Q.    Was that discussed?
22             A.    I am sure it was.
23             Q.    That would be in your notes?
24             A.    That would be in my notes, so my
25   recollection would have to be after I would read

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 1                             Wilderotter
 2   through my notes.
 3             Q.    Then, if it was not in your notes,
 4   would that mean it wasn't discussed?
 5             A.    No.     I would just use my notes for my
 6   own personal recollection.
 7             Q.    Do you know the reason why the
 8   percentage recovery for the unsecured creditors
 9   of the subsidiaries increased from 50 percent to
10   100 percent?
11             A.    I would have to look at my notes.                   I
12   know it was discussed.
13             Q.    Was there any discussion of buying
14   their claims to support the plan, or I'm sorry,
15   buying the support of the plan by paying them in
16   full?
17                   MR. MILES:         Read the question back
18             with the question before it as well.
19                   (Record read)
20             A.    I don't recall that being discussed.
21             Q.    Do you know the basis for giving the
22   other parent general unsecured creditors an
23   option to obtain a higher percentage cash
24   recovery than the senior noteholders?
25             A.    Run that by me again.

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 1                             Wilderotter
 2             Q.    Do you know the basis for giving the
 3   other parent general unsecured creditors an
 4   option to obtain a higher percentage cash
 5   recovery than the senior noteholders?
 6             A.    Than the senior noteholders?                  I would
 7   have to look at my notes.               I know there was
 8   discussion about that as well.
 9             Q.    Do you recall any of that discussion?
10             A.    No, I would have to refresh my memory
11   on looking at the information.
12             Q.    Do you know why the senior
13   noteholders are being paid in cash as opposed to
14   cash and stock?
15             A.    No.
16             Q.    Was that discussed?
17             A.    No, it was not discussed.
18             Q.    Do you know how the $77 million
19   reserve for the allowance of the bridge loan
20   claims was determined?
21             A.    I would have to look at my notes to
22   refresh my memory.
23             Q.    You don't have an independent
24   recollection of that?
25             A.    There are many pieces to this

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 1                             Wilderotter
 2   settlement, and it is complex, and I would have
 3   to look at my notes to make sure that I could
 4   truthfully answer your question.
 5             Q.    Do you recall if you understood how
 6   that reserve was established at the time that you
 7   approved the term sheet?
 8             A.    I don't recall that as a specific
 9   issue being called out, but we went through all
10   of the terms and conditions of the term sheet
11   with our advisors.           The entire special committee
12   did.
13             Q.    And that was at a meeting on Monday?
14             A.    Yes.
15             Q.    How long did that meeting last?
16             A.    It was --
17                   MR. SHERMAN:          Endless.
18             A.    It was endless, yes.
19             Q.    It couldn't have been endless because
20   we are sitting here now.
21             A.    One to two hours.
22             Q.    One to two hours?
23             A.    Yes.
24                   MR. SHERMAN:          It only seemed endless.
25             Q.    Who was present at that meeting?

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 1                             Wilderotter
 2             A.    It was a telephonic meeting, so I can
 3   give you a sense.          I don't know if I will miss
 4   somebody, because there were a number of people
 5   that were included as part of the call, but all
 6   the members of the special committee were on the
 7   call.     Jones Day, our counsel, was on the call,
 8   Lazard was on the call, our financial advisors,
 9   taking us through the settlement issues.                      Members
10   from Sidley were on the call.                 Don Liebentritt
11   was on the call.          David Kurtz, who was from
12   Lazard, took us through the information.
13             Q.    Did Mr. Kurtz lead the discussion?
14             A.    Part of it, yes.
15             Q.    Who else was leading the discussion?
16             A.    Well, there were many parts of it
17   that were talked about by the Sidley attorneys,
18   by Lazard, by Don Liebentritt, by Jones Day, so
19   there were different facets of the meeting that
20   were led, and discussions were led by different
21   people.
22             Q.    What part did Mr. Kurtz lead?
23             A.    He took us through the financial
24   analysis and the terms and conditions of the
25   settlement itself.

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 1                             Wilderotter
 2             Q.    And what financial analysis would
 3   that be?
 4             A.    You have that information.
 5             Q.    In the deck?
 6             A.    It is in the deck.             Yes.      He took us
 7   through the deck.
 8             Q.    What portion did Sidley discuss?
 9             A.    Sidley participated with Lazard in
10   providing color or information about different
11   parts of the material in the deck.
12             Q.    What portion did Mr. Liebentritt
13   handle?
14             A.    He did the intro in the beginning to
15   talk about that this was an overall proposed
16   settlement for the special committee to consider,
17   that they had been negotiating with the parties
18   all weekend and felt very close, that this was
19   very close to a final settlement that everyone
20   could agree to.
21             Q.    And what part did Jones Day handle?
22             A.    Advice and counsel to the special
23   committee including in our executive session a
24   discussion on the fairness and recommendation
25   that was put in front of us.

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 1                             Wilderotter
 2             Q.    Of this two-hour meeting, what
 3   portion of it was the general meeting and what
 4   portion of it was the executive session?
 5             A.    I don't know from a time split, but
 6   probably, you know, at least two-thirds of the
 7   time was really going through the information on
 8   the settlement itself and Q and A, and the
 9   balance maybe 15 or 20 minutes we did in
10   executive session.
11             Q.    Prior to this two-hour conference
12   call, had there been a meeting of the special
13   committee to discuss the terms of this term
14   sheet?
15             A.    Of this term sheet, the final term
16   sheet, no.      It was based upon discussions that
17   took place over the weekend, so it was sort of a
18   final -- almost a final term sheet.
19             Q.    When was the last special committee
20   meeting before the October 12 special committee
21   meeting?
22             A.    I would have to go look at my
23   calendar to let you know what that was.
24             Q.    What would you need to look at?
25             A.    My calendar dates.

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 1                             Wilderotter
 2             Q.    Will you do that and supplement your
 3   answer after?
 4             A.    Absolutely.
 5             Q.    Did the special committee do any
 6   decision trees in connection with this October 12
 7   meeting?
 8             A.    What do you mean by decision trees?
 9             Q.    Looking at what the consequences
10   would be of making one decision as opposed to
11   another and the probabilities that would result
12   or could result from making one decision as
13   opposed to another.
14             A.    The special committee did a lot of
15   deliberation and Q and A as part of this meeting
16   on what was being proposed.
17             Q.    Other than the two-hour meeting, I
18   assume that there was no decision tree presented
19   in the two-hour meeting?
20                   MR. SHERMAN:          Objection to form.
21             Your assumption is really not an issue in
22             the case.
23                   MR. WEINTRAUB:           I'm sorry?
24                   MR. SHERMAN:          I objected to the form.
25             I was pointing out that what you assume is

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 1                             Wilderotter
 2             probably not an issue in the case.                    Why
 3             don't you rephrase the question.
 4             Q.    Was a decision tree presented to the
 5   special committee in connection with the
 6   October 12 meeting?
 7             A.    Since I don't really know what you
 8   mean by a decision tree, I can't answer that
 9   question.
10             Q.    No one used that term during the
11   meeting?
12             A.    No one used a decision tree term
13   during the meeting.
14             Q.    And no document that would give
15   different alternative paths depending upon
16   different decisions was used at the meeting?
17             A.    The document that was used at the
18   meeting you have in your possession, so you have
19   everything that was presented at that meeting.
20             Q.    And I take it, since you are not
21   familiar with the term that I am using, decision
22   tree, you don't recall a decision tree being used
23   or discussed in advance of the October 12 meeting
24   by the special committee?
25             A.    I never heard the term "decision

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                                                                              60
 1                             Wilderotter
 2   tree" before in conjunction with this case.
 3             Q.    Do you know if -- did the special
 4   committee do any weighted average settlement
 5   calculations to determine the likelihood or
 6   unlikelihood of certain events occurring and
 7   certain recoveries being yielded from those
 8   events?
 9             A.    The special committee had a lot of
10   discussion with our advisors during that
11   telephone call on what the terms and conditions
12   were and what the pros and cons were of those
13   terms and conditions, and that to me is what we
14   spent the time focused on on that call.
15             Q.    Do you remember a discussion about an
16   incremental $12 million recovery for the senior
17   noteholders in certain circumstances?
18             A.    Not that I recall, but I would have
19   to look at my notes.
20             Q.    Do you know the source of cash that
21   is being used to pay $420 million to the senior
22   noteholders as reflected in the term sheet?
23             A.    From the individual parties?
24             Q.    Yes, who is paying what.
25             A.    Yes.      You have that in that document.

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 1                             Wilderotter
 2             Q.    That is in the deck?
 3             A.    It is in the deck, yes.
 4             Q.    Is that on a by lender basis?
 5             A.    I would have to look at the deck to
 6   see how detailed it is, but it deals with the
 7   lenders, yes.         The lenders are outlined in the
 8   deck.
 9             Q.    Do you know how that $420 million
10   figure was arrived at?
11             A.    Yes, it is in the deck.
12             Q.    But, aside from being in the deck, do
13   you know how it got into the deck?
14             A.    It was negotiated as part of the
15   settlement.
16             Q.    And --
17             A.    With the parties.
18             Q.    Do you know who proposed it?
19             A.    No.     I don't know which individual
20   proposed it.
21             Q.    Do you know which of the release
22   parties are providing funds under the settlement?
23             A.    Yes, it is in the deck.
24             Q.    Other than in the deck, you have no
25   independent knowledge?

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 1                             Wilderotter
 2             A.    I have independent knowledge based
 3   upon, if you want me to recite who it is, I would
 4   be happy to do that if you want to pull the deck
 5   out.
 6             Q.    We are going to get to the deck.
 7             A.    All right.
 8             Q.    Are you familiar with section 2.13 of
 9   the credit agreement?
10             A.    I don't know what 2.13 of the credit
11   agreement is.
12             Q.    You never heard 2.13 mentioned at any
13   of your meetings?
14             A.    Not that I know of.
15             Q.    Have you heard the sharing provision
16   between the step 1 and step 2 lenders mentioned
17   in any of your meetings?
18             A.    The sharing agreement, not that I
19   recall.
20             Q.    Are you generally aware that there is
21   a provision of the credit agreement that would
22   require the step 1 lenders to share recoveries
23   with the step 2 lenders?
24             A.    I don't recall off the top of my
25   head.

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                                                                              63
 1                             Wilderotter
 2             Q.    You don't recall if that was
 3   discussed in connection with the term sheet?
 4             A.    I don't recall.            I would have to look
 5   at my notes.
 6             Q.    The term sheet mentions the retiree
 7   settlement.         What is your understanding of the
 8   retiree settlement?
 9             A.    Do you want to tell me where this is
10   on the term sheet so I can look at it?
11             Q.    On page 2 in the box labeled "Other
12   Parent General Unsecured Claims."
13             A.    Okay.
14             Q.    The third bullet point.
15             A.    Okay.      What is the question?
16             Q.    What is your understanding of the
17   terms of the retiree settlement agreement?
18             A.    Of the retiree claimant settlement
19   agreement?
20             Q.    Yes.      What is being settled under
21   that agreement?
22             A.    The retiree claim, this basically
23   says that it would be allowed based upon what is
24   in that agreement and they would be eligible to
25   receive distributions without reduction, offset,

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 1                             Wilderotter
 2   counterclaim or subordination.
 3             Q.    Did you make an independent
 4   determination that the retiree settlement
 5   agreement is fair?
 6             A.    No, not to that specific agreement.
 7             Q.    Have you --
 8             A.    Only to the total settlements that
 9   were put in front of us.
10             Q.    Have you read the retiree settlement
11   agreement?
12             A.    No.
13             Q.    Has it been described to you?
14             A.    I have to look at my notes to see
15   what kind of notes I have on that or not.
16             Q.    You don't have an independent
17   recollection of what is being settled under the
18   retiree settlement agreement?
19             A.    Correct.
20             Q.    Do you know why the retirees are
21   being given an option under the term sheet?
22             A.    Again, I know that it is part of the
23   settlement agreement overall, and there were puts
24   and takes on all of these terms and conditions.
25             Q.    Did you have any input into the puts

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 1                             Wilderotter
 2   and takes?
 3             A.    No.
 4             Q.    Were you consulted about the puts and
 5   takes?
 6             A.    I was not consulted on the puts and
 7   takes.     I was asked to review this in a holistic
 8   fashion to see if this was fair and equitable and
 9   a good settlement for the parties.
10             Q.    And that holistic review was the
11   two-hour meeting on October 12?
12             A.    Correct.
13             Q.    On page 3 of the term sheet, there is
14   a discussion of the step 2 disgorgement
15   settlement.         What is your understanding of what
16   is being released under that settlement?
17             A.    Do you want me to just read this to
18   you?
19             Q.    No, I would like to know if you have
20   an understanding based upon the work that you did
21   in approving the settlement agreement as to what
22   is being released.
23             A.    I do have an understanding, but this
24   is a complicated settlement, and I don't want to
25   regurgitate to you anything that would be

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 1                             Wilderotter
 2   incorrect.      I would be happy to take you through
 3   this or I could look at my notes again and take
 4   you through what we discussed there, but it is
 5   what it is based upon what is said here.
 6             Q.    Other than just reading the words to
 7   me, is it your testimony you don't have an
 8   independent understanding of what is being
 9   released?
10             A.    I have an independent understanding,
11   but it is based upon what is on this piece of
12   paper.
13             Q.    Can you explain to me then what is
14   your understanding of what is being released?
15             A.    It is right here on this piece of
16   paper.     I am happy to read it to you, but I'm not
17   going to try to take this out of context, because
18   it is complicated, and I don't want to leave
19   anything out, and then it would seem like I
20   didn't answer this truthfully, so I am happy to
21   read this to you if that is what you would like
22   me to do.
23             Q.    Was this explained to you at the
24   meeting on October 12?
25             A.    Yes, it was.

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 1                             Wilderotter
 2             Q.    Do you recall what was explained to
 3   you?
 4             A.    Yes, and I have my notes and I would
 5   be happy to look at my notes and talk to you
 6   about that further.
 7             Q.    Other than what is in your notes, you
 8   have no independent recollection of --
 9             A.    I have an independent recollection,
10   but I don't want to talk about that unless I look
11   at my notes.
12             Q.    What is your understanding of how the
13   funding and reimbursement arrangement works with
14   respect to this disgorgement settlement?
15             A.    I would be happy to look at my notes
16   and tell you about what my understanding is.
17             Q.    Other than that, do you have any
18   understanding of how the disgorgement and
19   reimbursement arrangements work?
20             A.    I have already answered the question.
21             Q.    Do you know how much the step 2
22   arrangers were paid?              Strike that.         Let me start
23   that again.         Do you know the dollar amount of
24   exposure that the step 2 arrangers have in the
25   disgorgement claim?

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 1                             Wilderotter
 2             A.    I would have to look at my notes.
 3             Q.    You don't have an independent
 4   recollection of the potential disgorgement claim
 5   against the step 2 arrangers?
 6             A.    I would have to look at my notes.
 7             Q.    Do you know how much of the
 8   disgorgement claim against the step 2 lenders was
 9   against the incremental lenders as opposed to the
10   bridge lenders?
11             A.    I would have to look at my notes.
12             Q.    You don't have an independent
13   recollection of that?
14             A.    I would have to look at my notes.
15             Q.    You don't have an independent memory?
16             A.    I would have to look at my notes.
17             Q.    Is it your understanding that the
18   arrangers are going to be advancing up to
19   $120 million to pay for the settlement that is
20   set forth in the step 2 disgorgement settlement
21   as described in the term sheet?
22             A.    As soon as I look at my notes, I
23   would be happy to answer the question.
24             Q.    You don't have an independent
25   recollection?

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 1                             Wilderotter
 2             A.    I'm not a lawyer, so I need to look
 3   at my notes to see what the actual information is
 4   to answer that question.
 5             Q.    So as we sit here today, which is
 6   October 13th, you don't recall the meeting --
 7   what was discussed about this on Monday at the
 8   meeting on Monday?
 9             A.    I don't recall the intimate details
10   that you are asking me.              I would have to refer to
11   my notes to make sure that I answered the
12   question appropriately.
13             Q.    You don't recall where $120 million
14   is coming from under the settlement?
15             A.    Yes.      It is in my notes, and it is in
16   the deck that you already have.
17             Q.    Do you have an understanding as to
18   whether or not the parties that would be
19   advancing the $120 million would have a right to
20   be reimbursed for that $120 million?
21             A.    I don't have a recollection of that.
22   I need to look at my notes.
23             Q.    Do you know what claims are being
24   transferred to the litigation trust as opposed to
25   the creditor trust?

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 1                             Wilderotter
 2             A.     I need to look at my notes.
 3             Q.     Are you aware that there are two
 4   different trusts?
 5             A.     Yes.
 6             Q.     What is the reason for the two
 7   trusts?
 8             A.     I would be more than happy to talk
 9   about that when I would have my notes in front of
10   me.
11             Q.     Let's go to the deck.
12                    MR. SHERMAN:         At some point, if we
13             could have a five or seven-minute break.
14             It is up to you.
15                    MR. WEINTRAUB:          No, we can do it now.
16                    THE VIDEOGRAPHER:            The time is 4:23
17             p.m.      We are going off the record.
18                    (Recess taken)
19                    THE VIDEOGRAPHER:            This marks the
20             beginning of videotape number two.                    The
21             time is 4:33 p.m.           We are going back on
22             the record.
23   BY MR. WEINTRAUB:
24             Q.     We are back on the record.                 You are
25   still under oath.          You mentioned to me just

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 1                             Wilderotter
 2   before we went back on the record you checked the
 3   date of the meeting prior to the Monday,
 4   October 11 meeting.
 5             A.    Right, and it looks like it was
 6   Tuesday, September 28.
 7             Q.    Do you recall what was discussed at
 8   that meeting?
 9             A.    I think we went through the step 1
10   settlement agreement that was being proposed with
11   Oaktree and Angelo Gordon.
12             Q.    That was the settlement agreement
13   that emanated or resulted from the two-day
14   mediation in Wilmington?
15             A.    That is my understanding, yes.
16             Q.    Were you present at that meeting in
17   Wilmington?
18             A.    No.
19             Q.    I'm sorry.         That mediation in
20   Wilmington.
21             A.    No.
22             Q.    Was anyone from the special committee
23   present?
24             A.    My understanding is David Heiman was
25   there from Jones Day representing the special

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 1                             Wilderotter
 2   committee.
 3             Q.    But none of the members of the
 4   special committee were there?
 5             A.    Not that I know of.
 6             Q.    How were the members of the special
 7   committee kept apprised of what was going on in
 8   the mediation in Wilmington?
 9             A.    From David Heiman, and also Don
10   Liebentritt would give us updates on how it was
11   going usually by e-mail.
12             Q.    How frequently were you getting
13   e-mail updates from Mr. Liebentritt?
14             A.    I would have to look at the updates
15   that I got.
16             Q.    Did you produce those to us in the
17   document production?
18             A.    If I had them, you have them.                   Yes.
19             Q.    So that means if I don't have them,
20   you don't have them?
21             A.    That's correct.
22                   MR. SHERMAN:          Assuming you have been
23             careful with your copies.
24                   MR. WEINTRAUB:           I try to be careful.
25             We are going to mark as the next exhibit

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 1                             Wilderotter
 2             what we will refer to as the deck, which
 3             was the document that was discussed at the
 4             October 11 meeting, and this is the
 5             version which I believe has your
 6             handwritten note on it.
 7                   THE WITNESS:          Okay.
 8                   MR. WEINTRAUB:           For those on the
 9             phone, this document begins at MW 28 and
10             runs through MW 38.
11                   (Wilderotter Exhibit 5, Document
12             bearing Bates numbers MW 28 through MW 38,
13             was so marked for identification, as of
14             this date.)
15             Q.    Have you seen this document before?
16             A.    Yes.
17             Q.    Is this the document that you
18   referred to earlier throughout the deposition
19   when you said you needed to see your notes?
20             A.    Yes.
21             Q.    Do you have any other notes of the
22   October 11 meeting other than the notes that are
23   on this document?
24             A.    No.
25             Q.    On page 1 of the document, in the

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 1                             Wilderotter
 2   background and summary, there is a description in
 3   the first paragraph that talks about a framework
 4   for a plan of reorganization that aims to settle
 5   and release senior lenders and step 1
 6   shareholders with respect to LBO-related causes
 7   of action and bridge lenders with respect to
 8   their disgorgement exposure.                Is that your
 9   recollection of what was discussed at the
10   meeting?
11             A.    Yes.
12             Q.    Is this at all inconsistent with the
13   term sheet that we were discussing earlier?
14             A.    I don't think so.             I would have to
15   compare page to page to the term sheet in order
16   to make that assessment.
17             Q.    To the best of your knowledge and
18   understanding, was the term sheet that we
19   reviewed which was filed with the bankruptcy
20   court consistent with the settlement that you
21   approved based upon this deck?
22             A.    Yes.
23             Q.    On the first page on the left-hand
24   side, there is some handwriting.                   Is that your
25   handwriting?

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                                                                               75
 1                             Wilderotter
 2             A.    Correct.
 3             Q.    What does that say with respect to
 4   Aurelius?      You can't write on the exhibit.                      You
 5   keep that.      Do we have another copy?
 6                   (Wilderotter Exhibit 5 was remarked)
 7             A.    And the question was?
 8             Q.    What does the handwriting say with
 9   respect to Aurelius?
10             A.    I don't think it says anything with
11   respect to Aurelius.
12                   MR. SHERMAN:          Where are you directing
13             her attention?
14                   MR. WEINTRAUB:           On page 1 of the
15             deck.
16                   THE WITNESS:          Right.
17                   MR. WEINTRAUB:           Where the page is
18             entitled "Background and Summary."
19                   THE WITNESS:          Right.
20             Q.    Then it says "Aurelius paren."
21             A.    "600 million.           They are opposed to
22   this deal and any deal that doesn't give
23   100 percent payment of their shares."
24             Q.    So whose comment was that?                  Was that
25   your comment?

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 1                             Wilderotter
 2             A.    It was being discussed by the Lazard
 3   folks when they were taking us through the deck,
 4   when they were taking us through the summary, so
 5   David Kurtz, as you can see his name is here
 6   along with Don Liebentritt, as I mentioned, did
 7   the intros, so I wrote that down because that is
 8   what they said.
 9             Q.    Now which one of those gentlemen said
10   that, or did they both say it?
11             A.    I don't recall which one said it,
12   because they were both speaking.
13             Q.    Did anyone say that that was not the
14   case?     That that was not a correct statement?
15             A.    No.
16             Q.    So the premise that the special
17   committee had was that Aurelius would only take
18   full payment plus interest?
19                   MR. SHERMAN:          Objection to the form.
20             Q.    You can answer the question.
21             A.    We made our decision based upon all
22   of the collective input from our advisors
23   including Don Liebentritt and Lazard and Sidley
24   and Jones Day, and this note that I put was what
25   was said in the meeting.              There was no other

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 1                             Wilderotter
 2   discussion about Aurelius with regard to that
 3   note.
 4             Q.    Do you remember exactly or
 5   approximately what was said by the person saying
 6   it with respect to Aurelius?
 7             A.    I don't remember exactly, but this
 8   paraphrase -- this was my understanding of what
 9   was said.
10             Q.    Were these part of the introductory
11   remarks?
12             A.    Correct.
13             Q.    Was there any discussion beyond that
14   statement?
15             A.    No.     Not that I recall.
16             Q.    At the top of the page.
17             A.    Yes.
18             Q.    Can you tell me what that handwriting
19   says?
20             A.    Yes.      It was a note that as we look
21   at approval for this settlement that we would
22   need to take not just the step 1 view, but the
23   step 2 deal together, so you would look at this
24   holistically as a good settlement for recovery to
25   the available noteholders and the creditors, so

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 1                             Wilderotter
 2   we shouldn't just take it one piece at a time,
 3   but we should take it collectively in how we look
 4   at this.
 5             Q.    Did someone suggest that it should be
 6   taken one piece at a time?
 7             A.    No.     Someone suggested we should look
 8   at it holistically.
 9             Q.    Was an explanation given as to why it
10   should be looked at holistically?
11             A.    Because it was a cumulative summary
12   for all of the parties based upon what is in this
13   deck.
14             Q.    On page 2 of the document, there is
15   some more handwriting.             Can you tell me what that
16   says?
17             A.    Yes.      So in the step 1 settlement,
18   when we first looked at that step 1 settlement
19   previous to the Monday meeting, the value of the
20   settlement was 328 million, and now including
21   both steps as part of the settlement it increased
22   to 521 million.
23             Q.    What were the sources of payment for
24   the increase?
25             A.    I would have to go to a different

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 1                             Wilderotter
 2   page to go through those if you want to do that.
 3             Q.    You can do that.
 4             A.    So, if you go, I don't see a page
 5   number on it, but it is the page that says
 6   summary settlement analysis.
 7             Q.    Okay.      That would be page 6.
 8             A.    Page 6.       So if you look at the
 9   settlement analysis and you have the 401,468.
10             Q.    Where are you looking?
11             A.    It is the total settlement column,
12   the last column.
13             Q.    Um-hum.
14             A.    If you add the 120 million, which is
15   the settlement payment from the step 2 lenders,
16   and add that to the 401,468, that gives you your
17   521,468.
18             Q.    What are the components of the 401?
19             A.    If you take a look at the 327,733
20   payment under the step 1 settlement.
21             Q.    Let's --
22             A.    Under payment.           And you add that to
23   the 73,735, which is the step 2 payment, it shows
24   the total of 401,468.
25             Q.    Let's look at the column labeled

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 1                             Wilderotter
 2   senior loan claim subsidiary.                 What is your
 3   understanding of what that -- I guess not column.
 4   It is on the left-hand side, and it goes across
 5   the page horizontally.             What is your
 6   understanding of that horizontal line?                      What does
 7   that represent?
 8             A.    I took a look at all of the senior
 9   loan claims cumulatively, not just parent, but
10   parent plus subsidiary together, and it would be
11   the value that would be distributed of the
12   $6.6 billion from a recovery perspective.
13             Q.    But I am asking you what does that
14   horizontal line represent?               Do you know?
15             A.    I don't have the details of that, no.
16   It is the claim in total and then what the
17   recovery would be, what percentage recovery.
18             Q.    Do you see under the column payment
19   across from senior loan claim subsidiary, a
20   parenthetical and a $40,306,000?
21             A.    I see that, yes.
22             Q.    Do you know what that represents?
23             A.    It would be a payment in the step 1
24   settlement, right.
25             Q.    With respect to the subsidiaries?

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 1                             Wilderotter
 2             A.    Correct.
 3             Q.    And then under the step 2 settlement,
 4   do you see the parenthetical, 42,500,000?
 5             A.    Yes.
 6             Q.    What does that represent?
 7             A.    It would represent an incremental
 8   increase in payments based upon step 2 added to
 9   step 1 to get to the final total settlement
10   amount.
11             Q.    Then the final total settlement
12   amount with respect to that horizontal column is
13   how much?      82 million --
14             A.    806.
15             Q.    Is it your understanding that that
16   82,806,000 represents the settlement payment for
17   the fraudulent conveyance claims with respect to
18   the Tribune subsidiaries?
19             A.    I don't understand the question.
20             Q.    The --
21             A.    It represents the total settlement
22   for the senior loan claims.
23             Q.    With respect to the subsidiaries?
24             A.    And the parent at the 401,468.
25             Q.    I'm not looking --

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 1                             Wilderotter
 2             A.    For the subsidiaries.
 3             Q.    I am just going horizontally.
 4             A.    Yes.
 5             Q.    So I am looking at the components for
 6   what is being paid with respect to the step 1 and
 7   step 2 settlement with respect to the fraudulent
 8   conveyance claims with respect to the
 9   subsidiaries.
10             A.    Right.
11             Q.    Okay.      Do you know the amount of the
12   debt that the subsidiary guarantors guaranteed in
13   connection with the LBO transactions?
14             A.    No, not off the top of my head.
15             Q.    Would the number $12 billion sound
16   about right?
17             A.    In terms of the 12,970 on this page?
18   Is that what you are talking about?
19             Q.    No, in terms of the loans made with
20   respect to step 1 and step 2 that were guaranteed
21   by the subsidiaries.
22             A.    I don't know the answer to that.
23             Q.    Does it sound like it might be
24   something like 10 or $12 billion?
25                   MR. SHERMAN:          Objection to the form.

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 1                             Wilderotter
 2             Q.    Do you know?
 3             A.    I don't know the number.
 4             Q.    Well, whatever the number is, let's
 5   start with the asserted claim then.                     You see that
 6   column?
 7             A.    Yes.
 8             Q.    So that is $8.722 billion?
 9             A.    Yes.
10             Q.    So is it your understanding that the
11   claims with respect to the guarantees made by the
12   subsidiaries is being resolved for a payment of
13   $82 million?
14             A.    82,806, yes.           That would be their
15   part of the settlement.
16             Q.    Do you think that is a fair
17   settlement?
18             A.    I think you have to look at the
19   settlement in total.              That is how I looked at it.
20   And I felt this was a fair settlement.
21             Q.    Was there any discussion of whether
22   or not there was any benefit to the subsidiaries
23   when they guaranteed the debt of the parent?
24             A.    There was no discussion that I
25   recall.

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 1                             Wilderotter
 2             Q.    Let's go back to page 3.                 There is a
 3   question mark.         I assume you put it there next to
 4   subsidiary GUC?
 5             A.    Right.
 6             Q.    Do you recall why you put a question
 7   mark there?
 8             A.    I didn't know what the GUC stood for
 9   when I first went through the deck, so I asked
10   the question and found out it was the unsecured
11   creditors.
12             Q.    Does this refresh your recollection
13   as to my earlier question as to do you know why
14   the recovery for the subsidiary GUCs went from
15   50 cents on the dollar to 100 percent?
16             A.    No, because my question was about
17   what the acronym stood for.
18             Q.    But --
19             A.    Because I didn't know.
20             Q.    But looking at the 85 million in cash
21   100 percent recovery, that doesn't refresh your
22   recollection?
23             A.    No.
24             Q.    On page 4, in the lower right-hand
25   corner, there is some handwriting.                    Can you tell

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                                                                              85
 1                             Wilderotter
 2   me what that means, the reference there?
 3             A.    If I recall, we were talking about
 4   what percent of the debt the lenders had versus
 5   the bonds, the parent, the trade and swap, so it
 6   was a breakdown for 81 percent of the debt
 7   lenders and 19 percent, and then the lenders
 8   would give up 46 percent of that, and that would
 9   be added to the bonds, the parent, the trade and
10   the swap, so it would increase what the bonds,
11   parent, trade and the swap got to 65 percent
12   down from 81 percent in terms of their percentage
13   that they would take away based upon this
14   settlement.
15             Q.    So this 65 percent, this is the
16   sharing of the litigation trust, or is this
17   what this settlement returns in terms of cents on
18   the dollar given the face amount of the bond
19   claims?
20             A.    My understanding is that it is how
21   the numbers were derived in terms of the splits
22   between those specific creditors of which lenders
23   were giving up part of what they would have
24   gotten to the bonds, the parent, the trade and
25   the swap.

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 1                             Wilderotter
 2             Q.    I'm sorry if I wasn't clear.                  Splits
 3   in terms of sharing in the litigation trust, or
 4   this is in terms of recoveries?
 5             A.    In recoveries.
 6             Q.    I'm sorry.         So recoveries on the
 7   effective date of the plan when distributions are
 8   made to creditors?
 9             A.    I don't know the last part of your
10   question in terms of when it would happen, but my
11   understanding is it was a split on the
12   recoveries.
13             Q.    So is it your understanding that the
14   bondholders are recovering 65 cents on the dollar
15   on the effective date of the plan?
16             A.    No.     What you have to do is look
17   at -- we can go to the page and look at what each
18   group gets as a percentage.
19             Q.    Okay.      Unless I am misreading it, we
20   are looking at 32.7 percent for the bonds on page
21   6?
22             A.    Yes.
23             Q.    So again my question is what does the
24   65 percent represent?
25             A.    I would have to go back and look at

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 1                             Wilderotter
 2   recreating the numbers, but it was how originally
 3   what -- let me see if I can find the exact
 4   number.     So if you went to the next page on the
 5   summary settlement analysis.
 6             Q.    Um-hum.
 7             A.    You can see that the pro rata share
 8   and the proposed sharing of the 81 and the 19.3
 9   and then the proposed sharing of reducing the
10   senior loan down to 35 and the 65 percent on the
11   proposed sharing for the bonds, the parent, trade
12   and the swap.
13             Q.    And that is proposed sharing of what?
14             A.    This is the litigation trust splits.
15             Q.    That was my original question.
16             A.    Okay.
17             Q.    So you are revising your answer to
18   say that the 65 percent is not the recovery, but
19   it is the sharing?
20             A.    Well, it is the sharing for the
21   distribution.
22             Q.    How is that 65 percent arrived at?                  I
23   don't mean numerically how it was arrived at.
24             A.    It was arrived at through negotiation
25   of the settlement.

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 1                             Wilderotter
 2             Q.    Were those negotiations described to
 3   you during the October 11 meeting?
 4             A.    The results of the negotiations were
 5   described to us based upon this deck that we
 6   reviewed.
 7             Q.    So you were just given the conclusion
 8   as opposed to how the conclusion was arrived at?
 9             A.    Correct.
10             Q.    On page 5.
11             A.    Does that start with confirmation
12   considerations?
13             Q.    Yes.      The page numbers are on the
14   lower left next to Lazard.
15             A.    I know.       My glasses are like this.
16             Q.    I have the same problem.                 There is a
17   reference to Judge Carey on the upper left-hand
18   corner of that page.
19             A.    Um-hum.
20             Q.    What was said about Judge Carey?
21             A.    We were talking about the likelihood
22   of how different alternatives would be viewed by
23   the bankruptcy judge.
24             Q.    What different alternatives were you
25   discussing?

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 1                             Wilderotter
 2             A.    The likelihood of this settlement
 3   being accepted by the courts versus alternatives.
 4             Q.    What alternatives were being
 5   discussed?
 6             A.    Well, I think that you can see in the
 7   center of this document there was a discussion
 8   about a challenge by a number of creditor
 9   constituencies including the senior notes, the
10   bridge and the phone classes about this purity
11   plan, which would be all litigation for the LBO
12   would go into the post bankruptcy environment.
13   There would be no settlements, in other words,
14   for any of the parties prior to emerging out of
15   bankruptcy, and that would be an option that the
16   judge could look at versus the settlement
17   proposal that was on the table.
18             Q.    Who gave the name to this litigation
19   plan the purity plan?
20             A.    I don't recall who named it that.
21   That is how it was referred to in the discussion.
22             Q.    Is that an acronym or a value
23   judgment?      What does purity mean in connection
24   with the reference to the plan?
25             A.    Just that there was no settlement.

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 1                             Wilderotter
 2             Q.    Do you know why that is referred to
 3   as purity?
 4             A.    No.
 5             Q.    On your handwritten notes on the
 6   lower left it says something about hold up.                         How
 7   long will this hold up the process?                    Is that what
 8   it says?
 9             A.    Right.       Um-hum.
10             Q.    Then beneath that, it says shouldn't.
11             A.    Right.
12             Q.    What does that handwriting discuss or
13   reference?
14             A.    It was referencing whether the judge
15   would look at one -- the settlement agreement
16   that we were recommending asynchronously to a
17   settlement that might be recommended by other
18   creditors and would that hold up the process, and
19   we were basically told that it wouldn't hold up
20   the process, because all of these would be viewed
21   at the same time by the judge.
22             Q.    Was there any discussion of which
23   plan would more likely be approved by the judge
24   than the other?
25             A.    As you can see here, both could be

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 1                             Wilderotter
 2   viewed depending on what was put in front of the
 3   judge.     I think that as a member of the special
 4   committee, based upon the fact that the judge
 5   appointed a mediator, and a mediator worked
 6   through this settlement with the parties that
 7   came to terms on this settlement, that the judge
 8   would take into consideration that his decision
 9   on having mediation and having a judge
10   participate in that mediation and the fact that
11   the settlement is a good settlement, that that
12   would be taken into consideration and would be
13   considered a very viable option.
14             Q.    Was there any discussion as to what
15   advantage there was that another judge was the
16   mediator?
17             A.    No.
18             Q.    What was said about this plan being a
19   good plan?
20             A.    Which plan?
21             Q.    The plan that is being proposed by
22   the special committee.
23             A.    What was said about it being a good
24   plan?
25             Q.    Yes.

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 1                             Wilderotter
 2             A.    Well, there was a number of things
 3   that was said.         I think as you go through this
 4   document, we went through all of the
 5   considerations.         If you go to page 8, this is
 6   120 million more than was required, because the
 7   step 1 lenders gave up more in the settlement.
 8                   It was also viewed and reviewed by an
 9   expert, an outside expert, that was involved to
10   take a third-party point of view on this
11   settlement, and this expert found the settlement
12   to be a good settlement and a positive
13   settlement.
14                   It also included the support of the
15   unsecured creditors committee, the support of the
16   mediator.      It was a product of extensive
17   negotiations that took place.                 It also actually
18   was a better settlement, as I mentioned earlier,
19   than five of the six scenarios that were proposed
20   in the examiner's report as possibilities for
21   settlement, and I think that it favors, you know,
22   it showed favor for non-LBO lenders.                     It has very
23   narrow releases, so it doesn't take away
24   anybody's right on a go-forward basis from a
25   litigation perspective.              So there were many

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 1                             Wilderotter
 2   pieces of this settlement consideration that we
 3   felt was a positive outcome on behalf of the
 4   creditors.
 5             Q.     Let's go back over what you were just
 6   saying.     You said the 120 million.                 What was the
 7   source of that 120 million?
 8             A.     It was the lenders.
 9             Q.     Which lenders?
10             A.     It is the consortium, I think the
11   lenders would be JP Morgan, Bank of America, Citi
12   and Merrill Lynch.
13             Q.     How was that number determined?
14             A.     I don't know.          As I mentioned before,
15   I was not involved in those discussions.
16             Q.     And you mentioned -- well, let me
17   back up.       How did you determine that that was a
18   fair number?
19             A.     I think I just told you that I
20   looked -- as a member of the special committee
21   and the entire special committee looked at the
22   holistic view of step 1 and step 2 and the
23   settlement together to decide that this overall
24   settlement was a good settlement.
25             Q.     What claims did that $120 million

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 1                             Wilderotter
 2   settle?
 3             A.    I don't have the detail of what
 4   claims that settled.              I can go back through here
 5   and look at the notes again.
 6             Q.    How do you know that it was a fair
 7   settlement if you don't know which claims were
 8   being settled?
 9             A.    Well, it is basically the loan
10   disgorgement settlement fund that was
11   underwritten by the lenders.
12             Q.    What was the extent of the exposure
13   to the lenders who had disgorgement risk?
14             A.    I don't know if that is in here or
15   not.
16             Q.    Do you have an independent
17   recollection of it?
18             A.    I don't, no.
19             Q.    You didn't find it in your notes?
20             A.    I'm not looking for it.                 No.
21             Q.    Could you look for it?
22             A.    I don't know if it is in here or not.
23   On page 6, the bonds total asserted claim was
24   1 billion 283, and the step 2 payment of the
25   120 million was the settlement.

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                                                                              95
 1                             Wilderotter
 2             Q.    So the step 2 payment of 120 million
 3   was settling the bond claim for 1 million 283?
 4   Is that what you are testifying?
 5             A.    1 million 283, no.
 6             Q.    1 billion 283.           Then I didn't
 7   understand your answer.
 8             A.    No, I was saying no to the 1 million
 9   283.
10             Q.    I'm sorry.
11             A.    That is my understanding that, if you
12   look at the asserted claim and the waterfall
13   recovery across the board.
14             Q.    So your understanding --
15             A.    You have 238 million that was part of
16   the step 1 settlement and an additional payment
17   of $120 million in the step 2 settlement payment.
18             Q.    And that is settling the bond claim
19   for 1 billion 283?
20             A.    I can't attest that that is what it
21   would all be inclusive of.               It is the line that
22   is on here in this settlement analysis.
23             Q.    But is it your testimony that part of
24   what is being settled with the $120 million
25   payment is the bond claim of 1 billion 283?

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 1                             Wilderotter
 2             A.    It seems to me that that is what this
 3   says, yes.
 4             Q.    So that is your understanding?
 5             A.    Well, I would have to go back and
 6   look here to see if -- let me go back and read
 7   the rest.
 8             Q.    This was explained to you on Monday,
 9   the 11th?
10             A.    That's correct.
11             Q.    To the best of your recollection, the
12   120 million was settling the 1 billion 283
13   million?
14             A.    It was an amount for the loan
15   disgorgement settlement fund that was
16   underwritten by the senior lenders.                    It would go
17   to the non-LBO senior noteholders, and it would
18   be actually -- that is basically my knowledge of
19   it.
20             Q.    So the claim that is being released
21   in exchange for the $120 million payment, do you
22   have an understanding what that claim is?
23             A.    I don't have the details of the
24   claim.
25             Q.    But you think it is a fair

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 1                             Wilderotter
 2   settlement?
 3             A.    I think overall it is a fair
 4   settlement, yes.
 5             Q.    You mentioned an outside expert who I
 6   think you said gave an opinion of the fairness of
 7   the settlement?
 8             A.    Correct.
 9             Q.    Was that someone who was present at
10   the October 11 meeting?
11             A.    No.
12             Q.    Who was that outside expert?
13             A.    My understanding is his name is
14   Bernie Black.
15             Q.    Have you read Mr. Black's report?
16             A.    I have not.
17             Q.    Did Mr. Black prepare a written
18   report?
19             A.    He prepared -- I don't know if he
20   prepared a written report, but he prepared a
21   report that was given to our advisors.
22             Q.    Who are your advisors?
23             A.    Lazard is our financial advisor, and
24   Sidley is the law firm that also advised the
25   company.

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 1                             Wilderotter
 2             Q.    Who retained Mr. Black?
 3             A.    The company retained him.
 4             Q.    When?
 5             A.    In March of this year.
 6             Q.    Was that before or after the special
 7   committee was --
 8             A.    It was before the special committee
 9   was formed.
10             Q.    Did the special committee retain its
11   own expert to review the fairness of the
12   settlement?
13             A.    No.
14             Q.    Did Mr. Black make a verbal
15   presentation to the special committee on the day
16   of the October 11 meeting?
17             A.    No.
18             Q.    How was Mr. Black's conclusion of the
19   fairness of the settlement communicated to the
20   members of the special committee?
21             A.    By our financial advisors and our
22   lawyers.
23             Q.    When you say our financial advisors?
24             A.    Lazard and Sidley.
25             Q.    I'm sorry.         Let me finish the

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 1                            Wilderotter
 2    question.     Did the special committee have its own
 3    separate financial advisor?
 4             A.    No.
 5             Q.    So, when you say our financial
 6    advisor, you mean Tribune's financial advisor?
 7             A.    Tribune's financial advisors.
 8             Q.    And you said Sidley?
 9             A.    I said Lazard and Sidley.
10             Q.    Was Sidley counsel to the special
11    committee?
12             A.    No.
13             Q.    Did Jones Day participate in that
14    presentation?
15             A.    Yes.
16             Q.    Do you know whether the October 11
17    meeting was the first time that Jones Day had
18    heard the results of Mr. Black's analysis?
19             A.    I don't know the answer to that.
20             Q.    Did you --
21             A.    You would have to ask them.                  I didn't
22    ask them.
23             Q.    You did not ask them?
24             A.    No.
25             Q.    Do you know what Mr. Black's

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 1                            Wilderotter
 2    qualifications are?
 3             A.    He is a professor of law at
 4    Northwestern, and he is an expert on these types
 5    of bankruptcy settlements.
 6             Q.    What type of bankruptcy settlement is
 7    this?
 8             A.    He is an expert on bankruptcy
 9    settlements.
10             Q.    Was he a practicing attorney?
11             A.    I have no idea.
12             Q.    Do you know if he is a tenured
13    professor?
14             A.    I have no idea.
15             Q.    Do you know if he ever practiced law?
16             A.    I have no idea.
17             Q.    Do you know if he has ever testified
18    in a case as to the reasonableness of a
19    settlement?
20             A.    I don't know the answer to that.
21             Q.    Did you ask?
22             A.    No.
23             Q.    You mentioned earlier that the
24    releases are narrow.            That was one of the reasons
25    you gave as to this being an appropriate

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 1                            Wilderotter
 2    settlement.
 3             A.    Correct.
 4             Q.    I asked you earlier if you knew
 5    whether or not the bridge, the avoiding actions
 6    against the bridge were being released or not.
 7    Can you answer that question now?
 8             A.    On page 3 on the bridge loan, it says
 9    that 78 million reserve subject to allowance of
10    the bridge claim, so it implied a 5 percent
11    recovery plus interest in litigation trust
12    proceeds.
13             Q.    Do you know how the 78 million dollar
14    figure was determined?
15             A.    No.     In negotiation.
16             Q.    That was a negotiated amount?
17             A.    I would assume so.                I don't know.
18             Q.    Did you ask?
19             A.    No.
20             Q.    Did anyone from the special committee
21    ask?
22             A.    Not that I recall.
23             Q.    I would like you to go back to the
24    term sheet which is Exhibit 4.
25             A.    I don't have the exhibits.

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 1                            Wilderotter
 2                    THE VIDEOGRAPHER:           The time is 5:14
 3             p.m.      We are going off the record.
 4                    (Recess taken)
 5                    THE VIDEOGRAPHER:           The time is 5:15
 6             p.m.      We are going back on the record.
 7    BY MR. WEINTRAUB:
 8             Q.     We have now located Exhibit 4.                     I
 9    would like you to turn to page 5, please.                     Feel
10    free to look at your handwritten notes on the
11    deck if that would help you answer this question.
12    Under the releases in paragraph 1, it says that
13    current and former holders of senior loan claims
14    and bridge loan claims are being released.                         I
15    asked you earlier if you knew why the bridge loan
16    claims were being released.
17                    MR. SHERMAN:         What is your question?
18             Q.     Do you know why the bridge loan
19    claims are being released?
20                    MR. MILES:        Could you read back the
21             question before counsel asked him what his
22             question was.
23                    (Record read)
24             Q.     And I am asking you again now do you
25    know why the bridge loan claims are being

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 1                            Wilderotter
 2    released, and, if you need your notes to assist
 3    you with that, please feel free to look at your
 4    notes.
 5             A.    I don't have the details of that, so,
 6    no.
 7             Q.    Do you know the size of the bridge
 8    loan claims against the subsidiaries?                    Dollar
 9    amount.
10             A.    Are you talking about the bridge
11    reserve?
12             Q.    No.     I am talking about how much the
13    bridge lenders are owed by the subsidiaries
14    under --
15             A.    I don't have that information.                      No, I
16    don't know that.
17             Q.    Was there any discussion at the
18    October 11 meeting about the subsidiary
19    guarantees and the subordination of the bridge
20    loan guarantee claims to the credit agreement
21    lender guarantee claims?
22             A.    Wow.     Not that I know of.
23             Q.    You don't recall that?
24             A.    I don't recall that.
25             Q.    Nobody asked about that?

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 1                            Wilderotter
 2             A.     Nobody asked me that question.
 3             Q.     And you didn't ask that question?
 4             A.     I didn't ask that question, no.
 5             Q.     It wasn't apparent to you at the
 6    meeting?      On page 5 of the deck, under the first
 7    bullet point, there is a sub-bullet point talking
 8    about "JP Morgan will be able to deliver the
 9    votes necessary to have an impaired accepting
10    class."    Do you see that?
11             A.     Yes.
12             Q.     Do you recall that discussion?
13             A.     I recall the statement being made
14    that Angelo Gordon, Oaktree Group and JP Morgan
15    would be able to deliver votes necessary to have
16    an impaired accepting class.
17             Q.     Do you know what they meant by
18    deliver the votes?
19             A.     Well, I believe that when you have a
20    settlement, all the creditors get to vote on that
21    settlement and make a decision on whether it is
22    acceptable or not, and this would be the
23    percentage of votes associated with that
24    settlement vote.
25             Q.     Did you know how Angelo Gordon,

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 1                            Wilderotter
 2    Oaktree and JP Morgan would go about delivering
 3    the votes?
 4             A.    No.
 5             Q.    Was there ever any discussion of
 6    Oaktree pressuring creditors to vote for a plan
 7    of settlement?
 8             A.    No.
 9             Q.    Were you aware Oaktree was pressuring
10    anyone?
11             A.    No.
12             Q.    The next main bullet point, which
13    would be the second darkened bullet point on the
14    page, talks about avoiding potential
15    complications.        Do you see that?
16             A.    Yes.
17             Q.    What potential complications is the
18    deck referring to?
19             A.    The complications of deciding how
20    much of the equity or the new stock would be
21    reserved in the litigation trust.                  That is what
22    it talks about, the complications of making that
23    decision.
24             Q.    The complications of calculating it?
25             A.    I think it is not just calculating

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 1                            Wilderotter
 2    it, but also reserving it.
 3             Q.    What are the complications of
 4    reserving it?
 5             A.    Well, we didn't get into the details
 6    of what the complications were, but it is the
 7    consideration that being able to distribute all
 8    of the new common stock at emergence would be a
 9    lot cleaner than having to decide what kind of
10    equity would be reserved in the litigation trust.
11             Q.    When you say you didn't get into the
12    complications, is that because you didn't ask?
13             A.    We didn't ask, and it wasn't
14    discussed.
15             Q.    Was there any reason why it wasn't
16    asked by the special committee?
17             A.    Because it wasn't -- it just wasn't
18    discussed.     No reason.
19             Q.    Was it not an important consideration
20    then?
21             A.    It is a consideration just like all
22    of the other considerations.
23             Q.    How would you weight that
24    consideration as opposed to other considerations?
25             A.    I wouldn't weight them at all.                      I

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 1                            Wilderotter
 2    look at this holistically.
 3             Q.    Did you consider that particular
 4    consideration, being the complications associated
 5    with reserving the stock, in determining to
 6    approve the settlement?
 7             A.    It is one consideration.
 8             Q.    Was it given any greater weight than
 9    any other consideration?
10             A.    No.
11             Q.    Was the special committee told if any
12    of the other creditor constituencies had
13    approached the debtor about a competing plan or a
14    full reserve plan?
15                   MR. SHERMAN:          I'm sorry.        Can I hear
16             that again.
17                   (Record read)
18             A.    I think the special committee knew
19    that there could be a competing plan that was
20    outlined on page 5 that was referred to as the
21    purity plan that could be an alternative plan
22    that could be considered.
23             Q.    Was the purity plan discussed at the
24    October 11 meeting?
25             A.    Yes.

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 1                            Wilderotter
 2             Q.    How extensive was the discussion of
 3    it?
 4             A.    The discussion was basically that it
 5    would be an alternative plan.               We talked about
 6    that the major difference is there would be no
 7    settlement on the LBO litigation.                  It would all
 8    go into post bankruptcy.             That would also
 9    complicate matters for the company when it
10    emerges from bankruptcy in terms of dealing with
11    lots of litigation on a go-forward basis.
12             Q.    Is it the special committee's view
13    that the company won't be dealing with litigation
14    under the currently proposed plan?
15             A.    No, we would be, but we would have
16    some settlements that were taken into
17    consideration, so it would alleviate some of the
18    overhang of litigation.
19             Q.    How would that alleviation of
20    overhang of litigation, how was that measured in
21    terms of benefit to the company?
22             A.    It was measured in the context of
23    this settlement that would take a number of the
24    large senior lender creditors, the UCC, so the
25    unsecured creditor committee, and it would take

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 1                            Wilderotter
 2    those folks into consideration that with the
 3    settlement it would reduce the risk of some level
 4    of litigation, but it still preserves the right
 5    for litigation for many of the parties as they
 6    look on a go-forward basis.
 7              Q.   When you say risk of litigation, risk
 8    to whom?
 9              A.   To the company in terms of going
10    through litigation with a number of the parties
11    on a number of the subjects.
12              Q.   Why did the special committee think
13    that the releases given under the proposed
14    settlement would be less litigation involving the
15    company than the purity plan?
16              A.   Well, I think it is about getting
17    some of the settlements done up front, getting
18    some of the payments done based upon that
19    settlement up front instead of having years and
20    years of litigation to settle any settlements at
21    all.     That is how we looked at it.
22              Q.   What analysis was done as to how
23    involved or uninvolved the company would be in
24    the litigation under the purity plan?
25              A.   I don't know the answer to that.

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 1                            Wilderotter
 2             Q.    Was there any thinking that there
 3    would be less litigation involving the company
 4    under this particular -- under the term sheet
 5    plan that is described in the deck?
 6             A.    Less litigation for what?
 7             Q.    Involving the company.
 8             A.    On what?         Under what plan are you
 9    talking about?
10             Q.    Under the plan that is outlined in
11    this deck versus the purity plan.
12                   MR. SHERMAN:          I think I object to
13             form.     Can you just try that question
14             front to end again.
15                   MR. WEINTRAUB:           I believe the witness
16             has testified that the special committee
17             thought that there would be less risk for
18             the company under the term sheet plan than
19             the purity plan going forward, because the
20             company would be less involved in
21             litigation.
22             Q.    Then correct me where I am wrong.
23             A.    I think what I said is by having some
24    of the settlements done up front, it takes
25    away -- my understanding of what was discussed at

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 1                            Wilderotter
 2    this meeting on the purity plan is that all LBO
 3    litigation would go into post bankruptcy.                     There
 4    would be no settlements at all up front in our
 5    proposed settlement plan, and, because of that,
 6    there would be more overhead on the part of the
 7    company to manage a lot more -- the potential to
 8    manage a lot more litigation.
 9             Q.    When you say overhead, do you mean
10    expense?
11             A.    Not just expense, but time and effort
12    and energy and focus.           As we all know, that takes
13    a lot of time, effort, energy and focus.
14             Q.    How did you analyze the difference in
15    terms of what you term overhead between the
16    purity plan and the term sheet plan?
17             A.    I think what we looked at is
18    $520 million of value could be given to a number
19    of the creditors.
20                   MR. WEINTRAUB:           I move to strike
21             that.
22                   MR. SHERMAN:          Let her finish.
23                   MR. WEINTRAUB:           That is not
24             responsive.
25                   MR. SHERMAN:          Then you can move to

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 1                            Wilderotter
 2             strike.
 3                   You are entitled to finish.
 4             A.    For some of the litigation now versus
 5    down the road.
 6                   MR. WEINTRAUB:           I move to strike as
 7             non-responsive.
 8             Q.    Was an analysis done of the overhead
 9    to the company under the purity plan versus the
10    term sheet plan?
11             A.    I don't know if an analysis was done.
12             Q.    Did you do that analysis or any kind
13    of analysis like that?
14             A.    A written analysis, no.
15             Q.    A mental analysis?
16             A.    Yes, there was a discussion that we
17    had on it on the 11th.
18             Q.    What was said during that discussion?
19             A.    I've already told you what was said.
20    It was a discussion of the alternative of a
21    purity plan versus the settlement plan that we
22    voted to approve, and part of that discussion was
23    advancing value to a number of the creditors for
24    some of the litigation now versus down the road,
25    that that was a positive.

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 1                            Wilderotter
 2             Q.     My question was not about advancing
 3    value to the constituents, my question was about
 4    what you referred to as the overhead to the
 5    company going forward in litigation.
 6                    MR. SHERMAN:         Now I have lost track
 7             of what your question is.                I thought she
 8             responded to your last question.
 9                    MR. WEINTRAUB:          I don't believe she
10             did.
11                    MR. SHERMAN:         Why don't you ask --
12             leave that question and give her a
13             question.
14             Q.     Are the officers and directors being
15    released under the term sheet plan?
16             A.     Not as far as I know.
17             Q.     So the company will be involved under
18    the term sheet plan in litigation involving its
19    officers and directors?
20             A.     It could be.
21             Q.     You said you had a hard stop at 5:50?
22             A.     Yes, I do.
23                    MR. WEINTRAUB:          I'm not finished.          I
24             know that there are other people that want
25             to ask questions and you may want to ask

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 1                            Wilderotter
 2             some questions, so I am going to stop now,
 3             and we'll have to talk about when we can
 4             resume at another time.
 5                   MR. SHERMAN:          We are not going to
 6             resume at another time.                 We had an
 7             agreement on a schedule, and we met the
 8             agreement, so ask all the questions you
 9             want between now and ten to 6, and then we
10             are finished, but we can fight that out in
11             front of a judge eventually.
12                   MR. WEINTRAUB:           We will fight that.
13             We don't need to fight that out here.                      We
14             started at 3 o'clock in the afternoon or a
15             few minutes after.
16                   MR. SHERMAN:          We started a few
17             minutes afterwards because technically you
18             weren't ready to proceed.                 We were here at
19             3 o'clock, and you told us you would need
20             some time to get set up, but we're talking
21             about a couple of minutes.
22                   MR. WEINTRAUB:           We're talking about a
23             couple of minutes.           And also I was here.
24             The court reporter was not here.
25                   MR. SHERMAN:          Who ordered the court

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 1                            Wilderotter
 2             reporter?
 3                   MR. WEINTRAUB:           I ordered the court
 4             reporter.
 5                   MR. SHERMAN:          I guess that is your
 6             responsibility.
 7                   MR. WEINTRAUB:           No, what is the
 8             responsibility is we have noticed a
 9             deposition and -- let me finish, Counsel.
10             We were given a curtailed day.                  We could
11             have started at 9 o'clock in the morning,
12             but Ms. Wilderotter was not available at
13             9 o'clock in the morning, so we were given
14             from 3 to 6.       I don't concede -- let me
15             finish, Counsel.
16                   MR. SHERMAN:          If you want to take
17             away the rest of your minutes by making
18             speeches, be my guest.
19                   MR. WEINTRAUB:           I am going to,
20             because we are going to come back for
21             another deposition, and Judge Carey will
22             decide that, and the speech that I'm going
23             to make in the next few minutes is not
24             going to make a difference one way or the
25             other, but I do want the record to be

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 1                            Wilderotter
 2             clear that most depositions are not three
 3             hours, and we didn't agree to a three-hour
 4             deposition.       We were given an ultimatum of
 5             she is available from 3 to 6.                 So we
 6             didn't agree that that is the only
 7             deposition that we would take.                  We didn't
 8             agree that we were going to take a
 9             curtailed deposition.
10                   At this point, I'm going to turn it
11             over to anyone else who has questions.                    I
12             believe Brown Rudnick has some questions.
13                   MR. SHERMAN:          Before you turn it
14             over, let me say, one, I think you were
15             offered a time period and you agreed that
16             you would do the deposition in the time
17             period.
18                   I would also point out to you that
19             the notice of deposition that you served
20             called for areas of questioning far more
21             limited than what you have done.                   You
22             didn't serve a notice, an amended notice,
23             and yet we have allowed you to take and
24             you have probably taken more than half of
25             the time asking questions outside your

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 1                            Wilderotter
 2             notice of deposition.
 3                    I think if you probably restricted
 4             yourself to what you noticed the
 5             deposition for, you would have been
 6             complete about an hour ago.                There is
 7             nothing in your notice of deposition, you
 8             never sent an amendment, that talked about
 9             the plan or the proposed plan that you
10             have questioned about for about two hours
11             now.
12                    MR. WEINTRAUB:          We can both make
13             speeches.
14                    MR. SHERMAN:         If you have more
15             questions, ask them.            If not, let somebody
16             else ask questions.
17                    MR. WEINTRAUB:          I'm not done with my
18             questions, but I will respond to what you
19             said.     Your firm canceled the deposition
20             saying there were new developments, and
21             the new development was the term sheet
22             that we spent a lot of time talking about,
23             because that was a new development, and
24             that is perfectly relevant to the trustee
25             motion, which seeks an independent

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 1                            Wilderotter
 2             fiduciary to take over this case.
 3                    I'm not finished with my deposition,
 4             and Judge Carey will decide who is right,
 5             you or me.
 6                    MR. SHERMAN:         Ultimately that is
 7             true.
 8                    MR. WEINTRAUB:          Yes.      I will turn it
 9             over to Brown Rudnick.
10    EXAMINATION BY MR. KLETTER:
11             Q.     Good afternoon, my name is Dylan
12    Kletter.      I'm with Brown Rudnick.              We represent
13    the PHONES.        Given what you have heard, I am
14    going to try and move a little quickly here.                       Is
15    that fine with you?
16             A.     Yes.
17                    MR. SHERMAN:         As long as we can hear
18             you.
19             Q.     You testified earlier today that the
20    special committee formed because of conflicts of
21    interest?
22             A.     I testified that members of the board
23    of directors that were independent directors on
24    the board could have conflicts based upon the
25    examiner's report and based upon that the special

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 1                            Wilderotter
 2    committee was formed with the four independent
 3    directors that were not part of the board or
 4    participated in the LBO.
 5             Q.    So that conflict, that potential
 6    conflict arose in December 2007?
 7             A.    I don't know when the conflict arose.
 8    It might have been even before that.
 9             Q.    Prior to the formation of the special
10    committee, had you ever suggested the need to
11    form a special committee?
12             A.    No.
13             Q.    Has Mr. Zell ever assisted the
14    special committee?
15             A.    No.
16             Q.    You testified throughout today that
17    you received legal advice from Sidley Austin and
18    Jones Day, is that correct?
19             A.    Yes.
20             Q.    Is there any other law firm that you
21    have received legal advice from in these
22    bankruptcy cases?
23             A.    I don't know.          There might have been
24    other law firms that participated throughout the
25    last couple of years as part of the process, but

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 1                            Wilderotter
 2    Sidley and Jones Day are who we have been using
 3    as the special committee.
 4             Q.    Have you ever received legal advice
 5    from an individual not affiliated with a law
 6    firm?
 7             A.    Have I ever --
 8             Q.    In connection with your role on the
 9    board of directors and the independent committee.
10             A.    No.
11                   MR. SHERMAN:          Clarification.          You are
12             talking about the special committee?
13                   MR. KLETTER:          The special committee
14             or the board of directors, has she ever
15             received legal representation from an
16             individual in connection with these cases
17             from someone who is not affiliated with a
18             law firm.
19                   MR. SHERMAN:          Some lawyer?
20                   MR. KLETTER:          A lawyer or an
21             individual obviously.
22             Q.    Have you only been receiving legal
23    advice in connection with these cases from law
24    firms, to the best of your knowledge?
25             A.    I am really not quite sure what the

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 1                            Wilderotter
 2    question is.
 3             Q.    Let me be more specific.                Have you
 4    ever considered Don Liebentritt to be your
 5    attorney in these cases?
 6             A.    He was the general counsel of the
 7    company, and then he was the chief restructuring
 8    officer.
 9             Q.    I understand.
10             A.    He does provide guidance and input to
11    the board and the special committee.
12             Q.    Did you ever consider him your
13    attorney as a member of the board or the special
14    committee in these cases?
15             A.    I have considered him our attorney as
16    the general counsel of the company as a board
17    member, yes.
18             Q.    When he was appointed CRO, did that
19    belief cease?
20             A.    He is still a counselor to the
21    special committee and to the board.
22             Q.    So, even though Mr. Liebentritt is no
23    longer general counsel, you still consider him a
24    legal advisor?
25             A.    I consider him an advisor.

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 1                            Wilderotter
 2             Q.    But a legal advisor?
 3             A.    I don't necessarily separate out
 4    legal versus -- it is advice as part of the whole
 5    process, and as the chief restructuring officer
 6    he does provide advice to both the special
 7    committee and the board.
 8             Q.    To the best of your knowledge, has
 9    Jones Day worked closely with Sidley and the
10    special committee to assess the status of these
11    bankruptcy cases upon their appointment?
12             A.    Yes, they have worked closely with
13    the advisors to the company.
14             Q.    Are you aware whether Sidley has
15    disclosed certain conflicts of interest in this
16    case?
17             A.    I'm not aware.
18             Q.    Would it concern you if Sidley had
19    conflicts of interest that they were advising
20    Jones Day?
21                   MR. MILES:         Can I have the question
22             back.
23             A.    I'm not sure I understand the
24    question.
25                   MR. SHERMAN:          You are going to hear

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 1                            Wilderotter
 2             it again, and then we will see if anyone
 3             understands it.
 4                   (Record read)
 5                   MR. SHERMAN:          Do you want to restate
 6             that?
 7                   MR. KLETTER:          Sure.
 8             Q.    If it was your understanding that
 9    Sidley had conflicts of interest in this case,
10    would it concern you that they were bringing
11    Jones Day up to speed in this case?
12                   MR. MILES:         I object to the form.            Is
13             that a hypothetical?
14                   MR. KLETTER:          I guess she didn't
15             know, so, yes, it is a hypothetical.
16                   MR. SHERMAN:          Objection to form.
17             A.    I don't know.
18             Q.    To the best of your knowledge, you
19    are not aware of any conflicts of interest with
20    Sidley & Austin?
21             A.    To the best of my knowledge, I'm not
22    aware.
23             Q.    Can you explain to me in layman terms
24    the difference in roles between Sidley and Jones
25    Day in this case?

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 1                            Wilderotter
 2             A.    Yes.     Sidley has been the lawyer, the
 3    legal firm that the company hired to give us
 4    advice and counsel with regard to the bankruptcy
 5    in the proceedings, and Jones Day was hired to be
 6    advice and counsel to the special committee as
 7    part of this process.
 8             Q.    Did you receive legal advice in
 9    connection with the current settlement from
10    Sidley Austin?
11             A.    Yes.
12             Q.    Did you receive legal advice in
13    connection with the settlement attached to the
14    first mediator's report from Sidley Austin?
15             A.    Yes.
16             Q.    Did you receive legal advice from
17    Sidley Austin in connection with the April
18    settlement?
19             A.    The April settlement?
20                   MR. SHERMAN:          You are asking her in
21             her role on the special committee?
22                   MR. KLETTER:          The special committee
23             wasn't formed in April, so I am asking in
24             her role on the board of directors.
25             A.    I don't know the answer to that

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 1                            Wilderotter
 2    because I don't know what settlement you are
 3    talking about in April, but, as I said, Sidley
 4    has been our attorneys for the board.
 5             Q.    Are you aware that Angelo Gordon,
 6    JP Morgan, Centerbridge and Law Debenture entered
 7    into a settlement support agreement in April of
 8    this year?
 9             A.    Yes.
10             Q.    Had you received any legal advice
11    from Sidley in connection --
12                   MR. SHERMAN:          I have a problem.              You
13             didn't serve a separate notice of
14             deposition or subpoena.                 I don't think
15             your questioning is within the boundaries
16             of anything that was in either the
17             subpoena or the notice, and, to the extent
18             some parties are complaining we are short
19             of time, I think you probably ought to be
20             careful about that.
21             Q.    During this current settlement, did
22    the special committee ever reach out to creditor
23    constituencies?
24             A.    Did the special committee?                  As a
25    committee?

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 1                            Wilderotter
 2             Q.    Yes.
 3             A.    No.
 4             Q.    In your view, was JP Morgan a
 5    critical component of this settlement plan?
 6             A.    Yes.
 7             Q.    Why is that?
 8             A.    Because they were a big lender as
 9    part of the process.
10             Q.    Are you familiar with the law firm of
11    Novack & Macy?
12             A.    No.
13             Q.    Did you have any role in the
14    application seeking to retain Novack & Macy in
15    this case?
16             A.    No.
17             Q.    Did you as the member of the special
18    committee have any role in whether to file a
19    complaint against Morgan Stanley in this case?
20             A.    The board of directors had a role in
21    looking at filing a complaint in this case
22    against Morgan Stanley.
23             Q.    Do you consider the board of
24    directors taking that action consistent with the
25    duties of the special committee in this case?

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 1                            Wilderotter
 2             A.    Yes, I do.
 3             Q.    What is your view of the special
 4    committee in terms of who to resolve or take
 5    claims against?
 6                   MR. SHERMAN:          I --
 7             A.    One more time.
 8             Q.    Just trying to move quickly here.
 9             A.    I know.
10             Q.    Do you have a view of whether it is
11    up to the special committee or the board of
12    directors to initially decide to pursue lawsuits
13    against various entities in this case?
14             A.    I think it is situational.                 I think
15    you have to look at each instance, and we would
16    make that decision based upon the special
17    committee's role, which our role is really about
18    working to get a settlement, a restructuring, in
19    order to get the company to emerge out of
20    bankruptcy and to maximize value to the creditors
21    as part of that process.             That is our scope.            So,
22    if there was something in that scope, the special
23    committee would be involved.
24             Q.    Is one of the scopes of the special
25    committee to resolve certain LBO causes of

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 1                            Wilderotter
 2    action?
 3             A.    No.
 4                   MR. KLETTER:          Do you want to go back
 5             for these last few minutes?
 6                   MR. WEINTRAUB:           Sure.      Let's go to
 7             page 8 of the deck.
 8                   MR. SHERMAN:          I take it that means
 9             none of the other lawyers in the room had
10             questions?       Is that right?           Yes.     Okay.
11             Mr. Brown Rudnick, Mr. Phones, you have
12             now finished your questions?
13                   MR. KLETTER:          We have finished our
14             questions, subject to the continuance of
15             this deposition.
16                   MR. SHERMAN:          No, somebody is going
17             to say he is finished.             We are not playing
18             tag team.      He said he was suspending to
19             let you go.       You go or you run out the
20             clock or otherwise we are finished for
21             today or you say you are finished.                   Do you
22             have any more questions?
23                   MR. KLETTER:          I don't think that is
24             appropriate.
25                   MR. SHERMAN:          I understand you don't.

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                                                                             129
 1                            Wilderotter
 2                   MR. WEINTRAUB:           We are not going to
 3             joust because now you are taking up my
 4             time.     So may I continue?
 5                   MR. SHERMAN:          Your idea is you guys
 6             can ask as many questions as you want and
 7             then reserve until next time and pass the
 8             baton back and forth.             Just so it is
 9             clear.
10                   MR. WEINTRAUB:           Counsel, may I
11             continue?
12                   MR. SHERMAN:          You can continue as
13             soon as I am finished talking.
14                   MR. WEINTRAUB:           Are you going to be
15             finished soon?
16                   MR. SHERMAN:          If you listen, you will
17             find out.      Our position is that you have
18             finished, because you don't have any more
19             questions.
20                   MR. KLETTER:          I understand your
21             position.
22    EXAMINATION (Continued)
23    BY MR. WEINTRAUB:
24             Q.    On page 8 of the deck.
25             A.    Yes.

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 1                            Wilderotter
 2             Q.    Your handwritten notes towards the
 3    top of the page, six scenarios, five of six.
 4             A.    Yes.
 5             Q.    What does that refer to?
 6             A.    It refers to certain scenarios of
 7    settlement that were in the examiner's report.
 8             Q.    Did you personally review those
 9    scenarios?
10             A.    No.
11             Q.    Did anyone on the special committee
12    review those scenarios?
13             A.    I don't know.
14             Q.    Did you discuss it with any of the
15    other members of the special committee?
16             A.    It was discussed at the time that we
17    talked about the settlement considerations on
18    October 11.
19             Q.    So, other than what is printed in the
20    deck and what was discussed by who made the
21    presentation, you didn't make an independent
22    review of the five of six scenarios referred to
23    in your notes?
24             A.    That's correct.
25             Q.    Are you familiar with the

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 1                            Wilderotter
 2    nomenclature used by the examiner in the report
 3    in terms of probability of success in litigation?
 4             A.    The nomenclature?
 5             Q.    The words.
 6             A.    Probability of success in --
 7             Q.    Yes.     When he says something is
 8    reasonably likely or reasonably unlikely, are you
 9    familiar with the terminology that he used in the
10    report?
11             A.    I am familiar with that terminology.
12             Q.    Did you attribute any percentages in
13    your own mind to the terms used by the examiner
14    in the report?
15             A.    I didn't -- no, not percentages.
16             Q.    So, when he used the term "highly
17    likely," you didn't associate a percentage with
18    that?
19             A.    No.
20             Q.    Do you have an opinion?
21             A.    It is a high percentage.
22             Q.    How high?
23             A.    I don't know.          High.       More than
24    50 percent.
25             Q.    More than 60 percent?

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 1                            Wilderotter
 2             A.    Probably.
 3             Q.    More than 70 percent?
 4                   MR. SHERMAN:          I object to the form.
 5             Q.    You can answer the question.
 6             A.    Maybe.
 7             Q.    More than 80 percent?
 8             A.    I don't know.          It is highly likely.
 9    It is what it is.
10             Q.    What about reasonably likely?
11             A.    Again, I didn't assign a percentage
12    to any of those terms.
13             Q.    So you didn't assign a percentage to
14    somewhat likely?
15             A.    No.
16             Q.    Close but likely?
17             A.    No.
18             Q.    Equipoise?
19             A.    I don't even know what equipoise is.
20    Sorry.
21             Q.    Somewhat unlikely?
22             A.    No.
23             Q.    Reasonably unlikely?
24             A.    No.
25             Q.    Highly unlikely?

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 1                            Wilderotter
 2             A.    No.
 3                   MR. WEINTRAUB:           I would like to mark
 4             as the next exhibit an excerpt of the
 5             examiner's report.
 6                   (Wilderotter Exhibit 6, Excerpt of
 7             examiner's report, was so marked for
 8             identification, as of this date.)
 9             Q.    You testified earlier that you read
10    portions of the examiner's report?
11             A.    I did.
12             Q.    Can you turn to the first page of the
13    exhibit which -- second page of the exhibit which
14    is page 32.
15             A.    Yes.
16             Q.    Do you see the highlighted language
17    there?
18             A.    Yes.
19             Q.    Can you read that, please?                 You can
20    read it to yourself.
21             A.    Yes.
22             Q.    Did the special committee take that
23    statement into account in making a determination
24    as to whether or not to accept the term sheet?
25             A.    No.

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 1                            Wilderotter
 2             Q.    Do you agree with this statement?
 3             A.    I'm not in a position to agree with
 4    the statement.        I'm not a lawyer.            I haven't
 5    reviewed all the facts of the case.                   It is just a
 6    conclusion that the examiner put in here.
 7             Q.    So you don't agree with it or
 8    disagree with it?
 9             A.    I don't agree or disagree with it.
10             Q.    I am going to ask you the same
11    question with respect to the highlighted language
12    on page 54.
13             A.    Okay.
14             Q.    Was that taken into account by the
15    special committee --
16             A.    No.
17             Q.    -- in making its determination?
18             A.    No.
19             Q.    Do you agree with it or disagree with
20    it?
21             A.    I was not on the board or part --
22    associated with Tribune in October 2007, so I
23    neither agree nor disagree.
24             Q.    Did you make an independent
25    determination as to whether or not there was an

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 1                            Wilderotter
 2    unjustifiable growth rate assumption for the
 3    years 2013 through 2017?
 4             A.    No.
 5             Q.    You have no opinion on that?
 6             A.    No.
 7             Q.    Page 63.         Do you remember reading
 8    this part of the report?
 9             A.    Yes.
10             Q.    Was the highlighted language taken
11    into account by the special committee in
12    evaluating the settlement?
13             A.    No.
14             Q.    Do you have a view as to whether
15    Tribune's management was deceitful in the
16    preparation and issuance of this aspect of the
17    October forecast?
18             A.    I was not around during that period
19    of time, so I have no opinion on that at this
20    point.
21             Q.    That is not anything the special
22    committee looked into?
23             A.    No.
24             Q.    The next page of the report is 183.
25    The shaded language.            Was this conclusion taken

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 1                            Wilderotter
 2    into account by the special committee in
 3    evaluating the settlement?
 4             A.    On all of these specific paragraphs,
 5    no.
 6             Q.    Can you just, if you want to,
 7    quickly, go through the rest of the pages and
 8    tell me if any of the shaded language was
 9    something that was taken into account by the
10    committee and we can focus on that.
11             A.    Yes.     The answer would be what we
12    took into account was to reserve the right for
13    members of this bankruptcy if they want to file
14    lawsuits or litigation to try to narrow releases
15    and make sure that there is still the right and
16    we didn't take a right away from people, that if
17    they wanted to pursue claims, they could do so.
18    That is how we looked at it.
19             Q.    But the step 1 lenders are being
20    released, correct?
21             A.    There is still the case that if --
22    there is still an opportunity to assess what
23    happened in step 1.
24             Q.    If the settlement is approved there
25    is an opportunity to --

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 1                            Wilderotter
 2             A.     Well, the settlement is one thing.                 I
 3    am talking about from the examiner's report
 4    perspective.
 5             Q.     I am talking about did you take into
 6    account any of the shaded conclusions of the
 7    examiner in determining whether or not the
 8    settlement was fair and reasonable?
 9             A.     I would have to read all of them
10    first before I can answer.
11             Q.     That is what we are doing.
12             A.     Yes.    What does equipoise mean?
13             Q.     I believe it means 50-50.
14             A.     Okay.
15                    MR. SHERMAN:         Here is a man that
16             knows how to quantify words.                 It probably
17             means an equal balance is probably what it
18             means.
19                    MR. WEINTRAUB:          I will admit I had to
20             look it up when I first read it.
21                    MR. SHERMAN:         You thought it had to
22             do with horseback riding, did you?
23                    MR. WEINTRAUB:          That's right.
24                    THE WITNESS:         It is like a spelling
25             bee.      If you could do your question one

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 1                            Wilderotter
 2             more time.
 3             Q.    Did the special committee or you as a
 4    member of the special committee take into
 5    consideration in evaluating the settlement any of
 6    the conclusions highlighted in the shaded
 7    language in the pages that I have handed to you
 8    which are excerpts from the examiner's report?
 9                   MR. SHERMAN:          Let's be clear the
10             question you are asking.                You are asking
11             with respect to each of the highlighted
12             pieces individually, or are you asking
13             whether they gave any consideration in the
14             process to the fact that there was an
15             examiner's report that contained these?
16                   MR. WEINTRAUB:           No, each individual.
17                   MR. SHERMAN:          You just want her to
18             focus whether they discussed these
19             individual ones?          I just want to
20             understand what you are asking.
21             Q.    Let me clarify.           I thought we were on
22    the same wavelength, but then you veered away at
23    the last second.        I am asking you did the members
24    of the special committee take into consideration
25    the examiner's conclusions as referenced in the

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 1                            Wilderotter
 2    highlighted sections in determining whether to go
 3    along with the settlement set forth in the term
 4    sheet?
 5             A.    Since there is only part of this that
 6    is highlighted, I would say that in a restrictive
 7    sense we didn't look at each one of these
 8    paragraphs and take those into consideration in
 9    making our decision.
10             Q.    Are there any -- we can go through
11    them one at a time.         I am trying to save time,
12    but maybe I will have to go through them one at a
13    time.    Was there anything that you agree with or
14    disagree with in these conclusions?
15                   MR. SHERMAN:          In your highlighted
16             conclusions?
17                   MR. WEINTRAUB:           Yes.
18                   MR. SHERMAN:          You are not asking
19             about the whole?          You are not, I take it,
20             suggesting in your questions that they are
21             unaware that there was an examiner's
22             report and didn't consider it at all?
23             Q.    No, did you agree with it?                 Did you
24    disagree with it?
25                   MR. SHERMAN:          But that is why I

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 1                            Wilderotter
 2             wanted the clarification.                You obviously
 3             prepared an exhibit which has a few pages
 4             out of a very lengthy report and you
 5             highlighted a few lines on those pages and
 6             you focus on those in particular, so your
 7             question is specifically did they talk
 8             about these particular --
 9                   MR. WEINTRAUB:           No, I guess we will
10             do it the long way.
11             A.    Well, let me answer the question.
12             Q.    No, I will restart.
13             A.    Okay.
14             Q.    I think we went through the first one
15    and the second one at page 54.
16             A.    Correct.
17             Q.    I think we asked you about page 63.
18    Is that correct?
19             A.    Yes.
20             Q.    Okay.      Page 183.        Here the examiner's
21    conclusion is "In measuring capital adequacy at
22    the time of step 1, however, a court is highly
23    likely to consider all obligations that were
24    reasonably foreseeable at the time of step 1
25    including those caused by step 2."

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 1                            Wilderotter
 2                   Do you agree with that statement?
 3             A.    I don't agree or disagree with the
 4    statement.
 5             Q.    Did you consider that the examiner's
 6    opinion -- that this statement reflects the
 7    examiner's opinion?         Did you take that into
 8    consideration in approving the settlement set
 9    forth in the term sheet?
10             A.    Not that specific line, no.
11             Q.    Was there some other aspect of the
12    report that you took into consideration?
13             A.    I think as you look at the
14    settlement, it is about capital and the
15    allocation of capital that was either from the
16    debt that was raised in either step 1 and/or
17    step 2, and in holistic approaches we looked at
18    the capital, not from an adequacy point of view,
19    but in terms of the right amount for settlement
20    and also a litigation trust and the opportunity
21    that, if folks are going to have litigation on a
22    go-forward basis, they could be based on this
23    examiner's report.         We took that into
24    consideration as part of the settlement.
25             Q.    How were you using the term "capital"

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 1                            Wilderotter
 2    in your last answer?
 3             A.    Capital in terms of the total amount
 4    of debt raised.
 5             Q.    Total amount of debt raised at what
 6    time?
 7             A.    Total amount of debt raised.                  There
 8    is step 1 debt, and then there was step 2 debt.
 9    There are two different tranches of debt.
10             Q.    You took the amount of debt into
11    consideration in reaching the settlement?
12             A.    Yes.
13             Q.    Is that what you understand the
14    examiner to be referring to when he uses the term
15    "capital adequacy" on page 183?
16             A.    No, he is referring to -- I'm not
17    going to get into what he is referring to,
18    because I'm not the examiner.
19             Q.    So you don't know what he is
20    referring to?
21             A.    I would have to read not just his
22    conclusion, but what led up in the dialogue of
23    his report to that conclusion to give you an
24    answer.
25             Q.    Did you read that previously?

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 1                            Wilderotter
 2             A.    Not that I remember this section.
 3             Q.    With respect to page 187?
 4             A.    Okay.
 5             Q.    The examiner says in the highlighted
 6    carry-over to page 188.
 7             A.    Right.
 8             Q.    The examiner finds that "A court is
 9    highly likely to find that Tribune was solvent as
10    of and after giving effect to the step 1
11    transactions if the step 2 debt is not included
12    for purposes of that determination.                   The examiner
13    finds that to the extent that the effects of
14    step 2 including the step 2 debt are considered
15    in connection with step 1 solvency, credible
16    assertions could be made that Tribune was
17    insolvent at step 1, but the examiner concludes
18    that it is somewhat likely, although a very close
19    call, that a court nonetheless would find that
20    Tribune was solvent in that circumstance as
21    well."
22                   Do you agree or disagree with that
23    conclusion?
24             A.    I can't make a judgment on whether I
25    agree or not, because I was not there and I have

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 1                            Wilderotter
 2    not read all of the details associated with that.
 3    The conclusion I draw from that is the examiner
 4    feels that it would be highly likely that the
 5    company was still considered solvent after the
 6    step 1 tranche of debt that was raised.
 7             Q.    But then in the second sentence he
 8    says, "To the extent the effects of the step 2
 9    including the step 2 debt are considered in
10    connection with step 1 solvency, credible
11    assertions could be made that Tribune was
12    insolvent in step 1."
13             A.    But it also says it would be a close
14    call.    Right.
15             Q.    What do you understand a close call
16    to mean?
17             A.    Well, that it would still be somewhat
18    likely that the court would still find that
19    Tribune was still solvent.
20             Q.    So what percentage would you put on
21    somewhat likely?
22             A.    I wouldn't put any percentage on it.
23    I haven't done enough homework on that to have
24    that opinion.
25             Q.    What percentage would you put on

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 1                            Wilderotter
 2    although a very close call?
 3             A.    I wouldn't.
 4             Q.    Do you think that although a very
 5    close call and somewhat likely are the same
 6    percentage?
 7             A.    I have no idea.
 8             Q.    On page 220, "The examiner finds that
 9    a court is highly likely to conclude that the
10    step 2 transactions rendered Tribune insolvent."
11                   Do you agree or disagree with that
12    statement?
13             A.    I don't have an opinion on it,
14    because you would have to look at all of the
15    facts associated with coming to that conclusion.
16             Q.    Was the examiner's determination that
17    a court is highly likely to conclude that step 2,
18    the step 2 transactions rendered Tribune
19    insolvent, was that taken into consideration by
20    the special committee in agreeing to the
21    settlement?
22             A.    No.
23             Q.    It was not?         Was it ignored?
24             A.    No, it wasn't ignored, but we all
25    know that that is a backdrop for what the

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 1                            Wilderotter
 2    settlement was.        The examiner's report was part
 3    of the backdrop of all of the decisions that we
 4    made overall.
 5             Q.    When you say a backdrop, what do you
 6    mean by a backdrop?
 7             A.    We know that the examiner's report
 8    has come out.        We know that he has drawn specific
 9    conclusions that would need to be reviewed and
10    looked at and decisions made whether they are
11    true or not.       That is part of the backdrop of
12    this settlement process.
13             Q.    When did you join the Tribune board
14    of directors?
15             A.    I don't know the exact date, but it
16    was in the first part of 2008.
17             Q.    Or the end of 2007 possibly?
18             A.    No.
19             Q.    Who approached you about joining the
20    Tribune board?
21             A.    Sam Zell.
22             Q.    How do you know Sam Zell?
23             A.    I have known Sam Zell from a business
24    perspective for a number of years.                  I sat on
25    several public company boards that he has had a

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 1                            Wilderotter
 2    majority interest in.
 3             Q.    How did you come to sit on those
 4    boards?
 5             A.    Actually, it was one of his partners.
 6    Many years ago I was in the cable television
 7    industry and they bought a company, a hardware
 8    provider in that industry, and one of his
 9    partners asked me if I would like to serve on
10    that board, and I did.
11                   I served on that board for several
12    years.    I never met Sam during that period of
13    time.    It wasn't until after I left that board of
14    directors that I met Sam subsequently down the
15    road when I served on another board that he
16    happened to be chairman of.
17             Q.    How many boards have you served on
18    where Sam Zell was either a shareholder of the
19    company or on the board?
20             A.    Three.
21             Q.    What companies are those?
22             A.    Antech, Jaycor and Anexter.
23             Q.    Do you still sit on any of those
24    boards?
25             A.    No.

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 1                            Wilderotter
 2             Q.     Why not?
 3             A.     I left the Antech board when I took a
 4    new job that did not allow me the time and
 5    attention to continue to focus on that.                     I left
 6    the Jaycor board because it was sold to Clear
 7    Channel.      And I left the Anexter board when I
 8    took the job here at Frontier, because Anexter is
 9    a customer of Frontier, and I felt it was a
10    conflict.
11             Q.     I'm sorry.
12                    MR. WEINTRAUB:          Could you read back
13             the answer.
14                    (Record read)
15             Q.     Do you know where Don Liebentritt
16    worked before becoming the chief restructuring
17    officer of Tribune?
18             A.     No.    I know he has worked with Sam in
19    the past.
20             Q.     Do you know how extensively he has
21    worked with Sam?
22             A.     No.
23             Q.     How do you know that he worked with
24    Sam in the past?
25             A.     Because he has told me that.

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                                                                             149
 1                            Wilderotter
 2             Q.    Since joining the Tribune board, what
 3    communications have you had with Mr. Zell?
 4             A.    A lot.
 5             Q.    How frequently do you speak?
 6             A.    It depends.         We will talk sometimes
 7    once a month, sometimes a couple of times a
 8    month, at board meetings.
 9             Q.    What do you talk about?
10             A.    We talk about the business.                  We talk
11    about the business environment.                  We talk about
12    the economy.
13             Q.    Do you talk about the work of the
14    special committee?
15             A.    Since we formed the special
16    committee, I have not -- I actually talked to Sam
17    about the special committee yesterday.
18             Q.    What was the nature of that
19    conversation?
20             A.    We had approved the settlement, and
21    he and I talked after that approval, and he said
22    how did the meeting go, and I said it went fine
23    and we approved the settlement.
24             Q.    Did you talk before the meeting with
25    Mr. Zell about the settlement?

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                                                                             150
 1                            Wilderotter
 2             A.    No.
 3             Q.    Before I think you said yesterday,
 4    before yesterday, when was the last time you
 5    spoke with Mr. Zell?
 6             A.    Last week.
 7             Q.    What was that conversation about?
 8             A.    It was about The New York Times
 9    article.
10             Q.    What did he say about The New York
11    Times article?
12             A.    He of course was disappointed in the
13    article as I think all of us were, and he and I
14    had a conversation with regard to leadership and
15    the instances that were cited in the article.
16             Q.    What communications have you had with
17    Chandler Bigelow since joining the Tribune board?
18             A.    Well, I sit on and chair the
19    compensation committee, and Chandler as the CFO
20    attends those meetings.            I have also had
21    interactions with him with regard to budget
22    reviews reporting, board reports on the
23    financials of the company, so I have interacted
24    with him as most board members would interact
25    with a CFO.

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                                                                             151
 1                            Wilderotter
 2             Q.    Did you interact with him about
 3    whether or not he would be released under the
 4    plan?
 5             A.    Excuse me?
 6             Q.    Did you interact with him on whether
 7    or not he would be released under the plan?
 8             A.    No.
 9             Q.    Do you think he should be released
10    under the plan?
11             A.    Under what plan?
12             Q.    The plan term sheet.
13             A.    No.
14             Q.    Why not?
15             A.    Because I believe he is a solid CFO
16    and he is doing a good job for Tribune.
17             Q.    I meant released --
18                   MR. SHERMAN:          He is talking about
19             legal release.
20             Q.    From liability.
21             A.    I meant like he is gone.
22                   MR. SHERMAN:          No, lawyer's secret
23             language.
24             A.    Sorry.      No.     I don't think he should
25    be released in your vernacular.                  Sorry.

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                                                                             152
 1                            Wilderotter
 2             Q.    Why not?
 3             A.    Because I think you have to look at
 4    what the examiner's report said about the
 5    financial management and the schedules and
 6    forecasts that they prepared and take a look at
 7    that and decide whether there is anything to it
 8    or not.
 9             Q.    Is that something that the special
10    committee has undertaken to look --
11             A.    No.
12             Q.    -- into whether or not there was
13    anything to it?
14             A.    No.
15             Q.    Do you agree or disagree with what
16    the examiner has said about Mr. Bigelow?
17             A.    I have my own opinion that I think
18    Chandler Bigelow is an honest CFO with a lot of
19    integrity, but again I wasn't around during that
20    period of time, so I have no knowledge to dispute
21    the examiner's decision or support it.
22             Q.    Do you know if the board as distinct
23    from the special committee has undertaken an
24    investigation into the allegations against Mr.
25    Bigelow?

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 1                            Wilderotter
 2             A.    I believe that the board has looked
 3    at Chandler Bigelow in light of the examiner's
 4    report, and we have concluded that he should
 5    continue to be the CFO of the company.
 6             Q.    What was the basis for that
 7    conclusion?
 8             A.    That we don't believe, based upon the
 9    investigations that have been done on the
10    information, that Chandler has done anything
11    wrong.
12             Q.    And what investigations were done on
13    the information?
14             A.    How the board has looked at through
15    management and third-party views of what Chandler
16    worked on on behalf of the company, that there
17    was nothing that he did wrong in the position he
18    was in in the financial group, so we have
19    confidence in him and that he should stay as CFO
20    until that is proven otherwise.
21             Q.    Who conducted that investigation?
22             A.    I don't know who in particular, but
23    it was a discussion that took place at a board
24    meeting.
25             Q.    Was there a written report?

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 1                            Wilderotter
 2                   MR. SHERMAN:          Excuse me.        Are you
 3             suggesting that the questions, the line of
 4             questioning you are now pursuing falls
 5             within your notice of deposition and
 6             subpoena?
 7                   MR. WEINTRAUB:           I'm not suggesting
 8             one way or the other.             I am asking my
 9             questions.       Are you instructing the
10             witness not to answer?
11                   THE WITNESS:          Yes, I have to go too,
12             so.
13                   MR. SHERMAN:          I think at that point
14             it becomes moot.          What I am suggesting is
15             that you served a notice of deposition and
16             you served a subpoena.             You called for
17             questioning on certain subjects, and you
18             are wandering beyond the subjects.
19                   MR. WEINTRAUB:           I don't believe I am,
20             Counsel.
21                   MR. SHERMAN:          We probably don't have
22             to argue about it at this point.
23                   MR. WEINTRAUB:           I am sure we don't
24             right now, but we will argue that in front
25             of Judge Carey, I am sure very shortly.

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 1                            Wilderotter
 2                    MR. SHERMAN:         I am sure we have a lot
 3             of things to argue about.
 4                    MR. WEINTRAUB:          But we don't have to
 5             fight about the meaning of equipoise.
 6                    MR. SHERMAN:         No.    You have a numbers
 7             idea of it, and I have a verbal idea of
 8             what it means.
 9                    THE WITNESS:         Thank you very much.          I
10             appreciate your coming here.
11                    MR. SHERMAN:         We'll read and sign.
12                    THE VIDEOGRAPHER:           The time is 6:11
13             p.m.      We are going off the record.
14                    (Time noted:         6:11 p.m.)
15                          _______________________________
16

17    Subscribed and sworn to
18    before me this______day of_________, 2010.
19    ___________________________________
20

21

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23

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 1

 2                  C E R T I F I C A T I O N
 3

 4                   I, Joseph R. Danyo, a Shorthand
 5    Reporter and Notary Public, within and for the
 6    State of New York, do hereby certify:
 7                   That I reported the proceedings in
 8    the within entitled matter, and that the within
 9    transcript is a true record of such proceedings.
10                   I further certify that I am not
11    related, by blood or marriage, to any of the
12    parties in this matter and that I am in no way
13    interested in the outcome of this matter.
14                       IN WITNESS WHEREOF, I have hereunto
15    set my hand this 14th day of October, 2010.
16

17

18

19                                          JOSEPH R. DANYO
20

21

22

23

24

25

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11              dated September 20, 2010 from Mark
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12
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 2                          E R R A T A
 3             I wish to make the following changes, for the
 4    following reasons:
 5    PAGE LINE
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 6                   REASON       ______________________________
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